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                         EXHIBIT A
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                                                                                  aN.
                                     EFiled: Jan 02 2025 04:13P
                                     Transaction ID 75361635
                                     Case No. N25C-01-083 F     7
       IN THE SUPERIOR COURT OF THE STATE OF DELAWARE                                   F DEAA


  GRANVILLE MORRIS;
  GLORIA ADAMS;
                                              C.A. No.: N25C-01-
  JACK BARTELME, III;
  WALTER BAXTER;
  JOHN BOEHM;
                                              JURY TRIAL DEMANDED
  DANIEL BRADY;
  GINA BROWN;
  ROBERT CHASTAIN;
  ADAM COMBS;
  RONDA COMSTOCK;
  BYRON COVER;
  CELESTE CRUM;
  FLORA DAVIS;
  MARVIN DEVAN JR;
  KATHRYN DIDIER;
  CHARLENE DOTSON ORANGE;
  JULIA DOUGLAS;
  SHARLENE DUNN;
  CHRISTINE EAKIN;
  GERALD ETTINGER;
  CHARLES FORSYTH;
  SANG FOX;
  HEATHER FRAZIER;
  JOHN GARCIA;
  FRANCISCO GONZALEZ;
  BERNARD HARDWICK;
  CLIFFORD HENDRICKS;
  SCOTT HOGGE;
  RENE HOSEY;
  MICHAEL HOWE;
  AMANDA IRVIN;
  NINA JEFFERSON;
  CHARLES JENKINS;
  GREGORY JOHNSON;
  LOURDES JOHNSON, as the Proposed
       Administrator of The ESTATE OF
       RONALD JOHNSON;
  KARLY KENTFIELD;
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  STEPHEN KLINE;
  RYAN KOTT;
  KELLIE KUNTZ;
  LAWRANCE LIVINGSTON;
  ROBERT MCGLONE;
  CHRISTOPHER MILAM;
  DORKA MORALES;
  MARI MUROZ;
  JACKIE NELSON;
  WILLIAM NELSON;
  COLETTE QUILLEN;
  PRISCILLA QUINLAN;
  JOHN RIESENBERG;
  DAVID ROBERTS;
  RONNEY ROGERS;
  ROBERT ROMEO;
  BRIAN SCHWAB;
  JANICE SCOTT;
  PETER SHARP;
  JESSICA SILKS;
  SANDRA SISK, as the Proposed
       Administrator of The ESTATE OF
       DOUGLAS SISK;
  CHARLES SKINNER;
  DENNIS SMAZAL;
  DAVID SMITH, as the Parent and
       Natural Guardian Of A.S.;
  HOLLY SOCCIARELLI;
  COLLIN STEWART;
  MARK STOKESBERRY;
  CHRISTY THATCHER;
  DANA TURNER;
  SHERRI TURNER;
  DAWN VANDYKE;
  DEAN WHITCOMB;
  BRENDA WHITE;
  MARION WHITE;
  BRENDA WILLIAMS;
  GWENDOLYN WINDOM;
  KIMBERLY WOODS;

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  TIMOTHY WOODSON;
  KRYSTAL WORTHINGTON;
  HEAVEN WORTHMAN;
  CONNIE WRIGHT;
  AUBREY SILVERS; and
  J.W. FRAZIER,
                    Plaintiffs,
              v.
  3M COMPANY, f/k/a Minnesota Mining
        and Manufacturing Co.;
  EIDP, INC., f/k/a E. I. du Pont de Nemours
        and Company;
  THE CHEMOURS COMPANY;
  THE CHEMOURS COMPANY FC, LLC;
  CORTEVA, INC.;
  DUPONT DE NEMOURS, INC., f/k/a
        DowDuPont, Inc.;
  HONEYWELL INTERNATIONAL, INC.,
        f/k/a Allied Signal Inc.;
  W. L. GORE & ASSOCIATES, INC.;
  AGC CHEMICALS AMERICAS, INC.;
  ARCHROMA U.S., INC.;
  ARKEMA INC.;
  BASF CORPORATION;
  CLARIANT CORPORATION;
  DAIKIN AMERICA, INC.; and
  SOLVAY SPECIALTY POLYMERS
        USA, L.L.C.,
                    Defendants.




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          COMPLAINT AND DEMAND FOR JURY TRIAL

       Plaintiffs GRANVILLE MORRIS; GLORIA ADAMS; JACK BARTELME,

 III; WALTER BAXTER; JOHN BOEHM; DANIEL BRADY; GINA BROWN;

 ROBERT CHASTAIN; ADAM COMBS; RONDA COMSTOCK; BYRON

 COVER; CELESTE CRUM; FLORA DAVIS; MARVIN DEVAN JR; KATHRYN

 DIDIER; CHARLENE DOTSON ORANGE; JULIA DOUGLAS; SHARLENE

 DUNN; CHRISTINE EAKIN; GERALD ETTINGER; CHARLES FORSYTH;

 SANG FOX; HEATHER FRAZIER; JOHN GARCIA; FRANCISCO GONZALEZ;

 BERNARD HARDWICK; CLIFFORD HENDRICKS; SCOTT HOGGE; RENE

 HOSEY; MICHAEL HOWE; AMANDA IRVIN; NINA JEFFERSON; CHARLES

 JENKINS; GREGORY JOHNSON; LOURDES JOHNSON, as the proposed

 Administrator of the ESTATE OF RONALD JOHNSON; KARLY KENTFIELD;

 STEPHEN     KLINE;      RYAN    KOTT;      KELLIE       KUNTZ;    LAWRANCE

 LIVINGSTON; ROBERT MCGLONE; CHRISTOPHER MILAM; DORKA

 MORALES; MARI MUSIOZ; JACKIE NELSON; WILLIAM NELSON;

 COLETTE QUILLEN; PRISCILLA QUINLAN; JOHN RIESENBERG; DAVID

 ROBERTS; RONNEY ROGERS; ROBERT ROMEO; BRIAN SCHWAB; JANICE

 SCOTT; PETER SHARP; JESSICA SILKS; SANDRA SISK, as the proposed

 Administrator of the ESTATE OF DOUGLAS SISK; CHARLES SKINNER;

 DENNIS SMAZAL; DAVID SMITH, as the Parent and Natural Guardian of A.S.;



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 HOLLY SOCCIARELLI; COLLIN STEWART; MARK STOKESBERRY;

 CHRISTY THATCHER; DANA TURNER; SHERRI TURNER; DAWN

 VANDYKE; DEAN WHITCOMB; BRENDA WHITE; MARION WHITE;

 BRENDA WILLIAMS; GWENDOLYN WINDOM; KIMBERLY WOODS;

 TIMOTHY        WOODSON;          KRYSTAL         WORTHINGTON;            HEAVEN

 WORTHMAN; CONNIE WRIGHT; AUBREY SILVERS; and J.W. FRAZIER

 ("Plaintiffs"), by and through their undersigned counsel, hereby file this Complaint

 against Defendants, 3M COMPANY, f/k/a Minnesota Mining And Manufacturing

 Co.; EIDP, INC., f/k/a E. I. du Pont De Nemours And Company; THE CHEMOURS

 COMPANY; THE CHEMOURS COMPANY FC, LLC; CORTEVA, INC.;

 DUPONT DE NEMOURS, INC., f/k/a DowDupont, Inc.; HONEYWELL

 INTERNATIONAL, INC., f/k/a Allied Signal Inc.; W. L. GORE & ASSOCIATES,

 INC.; AGC CHEMICALS AMERICAS, INC.; ARCHROMA U.S., INC.;

 ARKEMA INC.; BASF CORPORATION; CLARIANT CORPORATION;

 DAIKIN AMERICA, INC.; and SOLVAY SPECIALTY POLYMERS USA, L.L.C.

 (collectively "Defendants") and alleges, upon information and belief, as follows:

                                 INTRODUCTION

       1.    This action arises from the foreseeable contamination of groundwater

 by the use of per- and poly-fluoroalkyl substances ("PFAS"), including

 perfluorooctane sulfonate ("PFOS") and perfluorooctanoic acid ("PFOA"),



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 Perfluorohexanesulfonic acid ("PFHxS"), perfluorononanoic acid ("PFNA"),

 Hexafluoropropylene oxide dimer acid ("HFPO-DA" or "GenX"), and other

 dangerous PFAS chemicals. PFAS are a group of synthetic chemicals that are

 resistant to oil, water, grease, and heat.

         2.      Since at least the 1950s, PFAS have been used in wide range of

 products and applications, including but not limited to: non-stick cookware, fast food

 packaging, shampoo, paints, stain- and water-resistant fabrics and carpeting,

 cleaning products, and many others. However to be clear, Plaintiffs do not in this

 Complaint assert claims regarding any PFAS containing products produced by

 defendants for sale to the United States Government, and/or produced in compliance

 with technical standards set by the United States Government such as Military

 Specifications.

         3.      PFAS      are     mobile,     persist    indefinitely      in    the    environment,

 bioaccumulate in individual organisms and humans, and biomagnify up the food

 chain. PFAS are also associated with multiple and significant adverse health effects

 in humans, including but not limited to kidney cancer, testicular cancer, high

 cholesterol,      thyroid       disease,    ulcerative      colitis,    and     pregnancy-induced

 hypertension.1


 1 Science continues to develop as to which specific human health effects are linked to PFAS exposure. The
 list above is a non-exhaustive list of some of the most widely accepted human health effects caused by
 PFAS exposure.


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       4.    At various times from the 1950s through today, Defendants designed,

 manufactured, marketed, distributed, and/or sold products containing PFOS, PFOA,

 PFHxS, PFNA, GenX, and/or other dangerous PFAS and/or their chemical

 precursors, and/or designed, manufactured, marketed, distributed, and/or sold the

 fluorosurfactants and/or perfluorinated chemicals ("PFCs") which are used in the

 manufacture of PFAS-containing products.

       5.    Defendants designed, manufactured, marketed, distributed, and/or sold

 their products despite knowing that PFAS are toxic, persist indefinitely, and would

 be routinely released into the environment, even when used as directed and intended

 by Defendants.

       6.    Since the creation of PFAS chemicals in the 1950s, PFAS products

 designed, manufactured, marketed, distributed, and/or sold by Defendants, and/or

 contained fluorosurfactants and/or PFCs designed, manufactured, marketed,

 distributed, and/or sold by Defendants, have been used as directed and intended by

 Defendants, but which nevertheless resulted in the release of dangerous PFAS into

 the environment, thereby causing widespread PFAS contamination.

       7.    Due to this contamination, Plaintiffs have suffered real personal

 injuries, bioaccumulation of PFAS in their bodies, property damage and the

 diminution in value of their properties as a result of the release of PFAS to their

 water supplies.


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       8.     Plaintiffs have suffered an assortment of diseases and medical

 conditions as a direct result of their exposure to the PFAS contamination present in

 their drinking water supply and/or through direct exposure to PFAS-containing

 products.

       9.     Plaintiffs, as residents and those who visited, worked, or otherwise

 dwelled in the contaminated areas, have been unknowingly exposed for many years

 to PFAS, including concentrations hazardous to their health.

       10.    Plaintiffs' unwitting exposure to PFAS in their water supply and in

 consumer products as a result of the Defendants' conduct is the direct and proximate

 cause of Plaintiffs' injuries.

       11.    Plaintiffs' property has been damaged as a result of the presence of

 PFAS in their water supply.

       12.    Plaintiffs seek recovery from Defendants for injuries, damages, and

 losses suffered by the Plaintiffs as a result of exposure to the introduction of PFAS

 and other toxic substance into their water supply, and then into their properties and

 bodies, in an amount to be determined at trial, exclusive of interest, costs, and

 attorneys' fees.

                            JURISDICTION AND VENUE

       13.    Defendants are subject to the jurisdiction of this Court pursuant to 10

 Del. C. § 541.



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        14.    Defendants have intentionally sought and obtained benefits from their

  tortious and purposeful acts in the State of Delaware, in that Defendants reside in

  this district, are subject to personal jurisdiction in this district, and the wrongs

  averred herein occurred, in part, within this State.

        15.    A substantial part of the events giving rise to this claim occurred in

  Delaware, including entering into a contract for services.

                                        PARTIE S

  A.    PLAINTIFFS

        16.    Granville Morris resides at 405 West 21st Street, Wilmington DE

  19802. Plaintiff has been exposed to PFAS through daily activity. Plaintiff regularly

  consumed drinking water containing elevated levels of PFAS as a result of the

  widespread use of PFAS containing consumer products and/or was directly exposed

  to various household product containing PFAS over decades. Plaintiff was exposed

  to PFAS for many years prior to development of Plaintiff's personal injuries,

  including at concentrations hazardous to their health. As a direct and proximate

  result of Plaintiff's exposure, Plaintiff has been diagnosed with Kidney Cancer.

        17.    Gloria Adams resides at 922 S Washington Street, Independence MO

  64050. Plaintiff has been exposed to PFAS through daily activity. Plaintiff regularly

  consumed drinking water containing elevated levels of PFAS as a result of the

  widespread use of PFAS containing consumer products and/or was directly exposed



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  to various household product containing PFAS over decades. Plaintiff was exposed

  to PFAS for many years prior to development of Plaintiff's personal injuries,

  including at concentrations hazardous to their health. As a direct and proximate

  result of Plaintiff's exposure, Plaintiff has been diagnosed with Thyroid Disease.

        18.    Jack Bartelme, III resides at N24 W 22566 Meadowood Lane,

  Waukesha WI 53186. Plaintiff has been exposed to PFAS through daily activity.

  Plaintiff regularly consumed drinking water containing elevated levels of PFAS as

  a result of the widespread use of PFAS containing consumer products and/or was

  directly exposed to various household product containing PFAS over decades.

  Plaintiff was exposed to PFAS for many years prior to development of Plaintiff's

  personal injuries, including at concentrations hazardous to their health. As a direct

  and proximate result of Plaintiff's exposure, Plaintiff has been diagnosed with

  Testicular Cancer.

        19.    Walter Baxter resides at 5854 Steffani Drive, Southaven MS 38671.

  Plaintiff has been exposed to PFAS through daily activity. Plaintiff regularly

  consumed drinking water containing elevated levels of PFAS as a result of the

  widespread use of PFAS containing consumer products and/or was directly exposed

  to various household product containing PFAS over decades. Plaintiff was exposed

  to PFAS for many years prior to development of Plaintiff's personal injuries,




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  including at concentrations hazardous to their health. As a direct and proximate

  result of Plaintiff's exposure, Plaintiff has been diagnosed with Liver Cancer.

        20.    John Boehm resides at 2927 S 130 E Avenue, Tulsa OK 74134. Plaintiff

  has been exposed to PFAS through daily activity. Plaintiff regularly consumed

  drinking water containing elevated levels of PFAS as a result of the widespread use

  of PFAS containing consumer products and/or was directly exposed to various

  household product containing PFAS over decades. Plaintiff was exposed to PFAS

  for many years prior to development of Plaintiff's personal injuries, including at

  concentrations hazardous to their health. As a direct and proximate result of

  Plaintiff's exposure, Plaintiff has been diagnosed with Kidney Cancer.

        21.    Daniel Brady resides at 10864 Rayland Road, Philadelphia PA 19154.

  Plaintiff has been exposed to PFAS through daily activity. Plaintiff regularly

  consumed drinking water containing elevated levels of PFAS as a result of the

  widespread use of PFAS containing consumer products and/or was directly exposed

  to various household product containing PFAS over decades. Plaintiff was exposed

  to PFAS for many years prior to development of Plaintiff's personal injuries,

  including at concentrations hazardous to their health. As a direct and proximate

  result of Plaintiff's exposure, Plaintiff has been diagnosed with Kidney Cancer.

        22.    Gina Brown resides at 2500 NW Regency Street, #170, Bend OR

  97703. Plaintiff has been exposed to PFAS through daily activity. Plaintiff regularly


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  consumed drinking water containing elevated levels of PFAS as a result of the

  widespread use of PFAS containing consumer products and/or was directly exposed

  to various household product containing PFAS over decades. Plaintiff was exposed

  to PFAS for many years prior to development of Plaintiff's personal injuries,

  including at concentrations hazardous to their health. As a direct and proximate

  result of Plaintiff's exposure, Plaintiff has been diagnosed with Thyroid Disease and

  Ulcerative Colitis.

        23.    Robert Chastain resides at 2206 Hunter Drive, Anderson SC 29625.

  Plaintiff has been exposed to PFAS through daily activity. Plaintiff regularly

  consumed drinking water containing elevated levels of PFAS as a result of the

  widespread use of PFAS containing consumer products and/or was directly exposed

  to various household product containing PFAS over decades. Plaintiff was exposed

  to PFAS for many years prior to development of Plaintiff's personal injuries,

  including at concentrations hazardous to their health. As a direct and proximate

  result of Plaintiff's exposure, Plaintiff has been diagnosed with Kidney Cancer.

        24.    Adam Combs resides at 1324 Kilmer Way, Clarksville IN 47129.

  Plaintiff has been exposed to PFAS through daily activity. Plaintiff regularly

  consumed drinking water containing elevated levels of PFAS as a result of the

  widespread use of PFAS containing consumer products and/or was directly exposed

  to various household product containing PFAS over decades. Plaintiff was exposed


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  to PFAS for many years prior to development of Plaintiff's personal injuries,

  including at concentrations hazardous to their health. As a direct and proximate

  result of Plaintiff's exposure, Plaintiff has been diagnosed with Kidney Cancer.

        25.   Ronda Comstock resides at 8156 NW 25th Street, Bethany OK 73008.

  Plaintiff has been exposed to PFAS through daily activity. Plaintiff regularly

  consumed drinking water containing elevated levels of PFAS as a result of the

  widespread use of PFAS containing consumer products and/or was directly exposed

  to various household product containing PFAS over decades. Plaintiff was exposed

  to PFAS for many years prior to development of Plaintiff's personal injuries,

  including at concentrations hazardous to their health. As a direct and proximate

  result of Plaintiff's exposure, Plaintiff has been diagnosed with Thyroid Cancer.

        26.   Byron Cover resides at 603 Fuselage Avenue, Essex MID 21221.

  Plaintiff has been exposed to PFAS through daily activity. Plaintiff regularly

  consumed drinking water containing elevated levels of PFAS as a result of the

  widespread use of PFAS containing consumer products and/or was directly exposed

  to various household product containing PFAS over decades. Plaintiff was exposed

  to PFAS for many years prior to development of Plaintiff's personal injuries,

  including at concentrations hazardous to their health. As a direct and proximate

  result of Plaintiff's exposure, Plaintiff has been diagnosed with Kidney Cancer.




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        27.    Celeste Crum resides at 122 Orchard Drive, Boonsboro MD 21713.

  Plaintiff has been exposed to PFAS through daily activity. Plaintiff regularly

  consumed drinking water containing elevated levels of PFAS as a result of the

  widespread use of PFAS containing consumer products and/or was directly exposed

  to various household product containing PFAS over decades. Plaintiff was exposed

  to PFAS for many years prior to development of Plaintiff's personal injuries,

  including at concentrations hazardous to their health. As a direct and proximate

  result of Plaintiff's exposure, Plaintiff has been diagnosed with Thyroid Cancer.

        28.    Flora Davis resides at 4899 3900 W Street, Roy UT 84067. Plaintiff has

  been exposed to PFAS through daily activity. Plaintiff regularly consumed drinking

  water containing elevated levels of PFAS as a result of the widespread use of PFAS

  containing consumer products and/or was directly exposed to various household

  product containing PFAS over decades. Plaintiff was exposed to PFAS for many

  years prior to development of Plaintiff's personal injuries, including at

  concentrations hazardous to their health. As a direct and proximate result of

  Plaintiff's exposure, Plaintiff has been diagnosed with Thyroid Disease.

        29.    Marvin Devan Jr resides at 1100 Cummins Road, Des Moines IA

  50315. Plaintiff has been exposed to PFAS through daily activity. Plaintiff regularly

  consumed drinking water containing elevated levels of PFAS as a result of the

  widespread use of PFAS containing consumer products and/or was directly exposed


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  to various household product containing PFAS over decades. Plaintiff was exposed

  to PFAS for many years prior to development of Plaintiff's personal injuries,

  including at concentrations hazardous to their health. As a direct and proximate

  result of Plaintiff's exposure, Plaintiff has been diagnosed with Thyroid Disease.

        30.    Kathryn Didier resides at 1826 Lottie Fowler Road, Prince Frederick

  MD 20678. Plaintiff has been exposed to PFAS through daily activity. Plaintiff

  regularly consumed drinking water containing elevated levels of PFAS as a result of

  the widespread use of PFAS containing consumer products and/or was directly

  exposed to various household product containing PFAS over decades. Plaintiff was

  exposed to PFAS for many years prior to development of Plaintiff's personal

  injuries, including at concentrations hazardous to their health. As a direct and

  proximate result of Plaintiff's exposure, Plaintiff has been diagnosed with Thyroid

  Cancer.

        31.    Charlene Dotson Orange resides at 109 Reasnor Avenue, Webster

  Groves MO 63119. Plaintiff has been exposed to PFAS through daily activity.

  Plaintiff regularly consumed drinking water containing elevated levels of PFAS as

  a result of the widespread use of PFAS containing consumer products and/or was

  directly exposed to various household product containing PFAS over decades.

  Plaintiff was exposed to PFAS for many years prior to development of Plaintiff's

  personal injuries, including at concentrations hazardous to their health. As a direct


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  and proximate result of Plaintiff's exposure, Plaintiff has been diagnosed with

  Ulcerative Colitis.

        32.    Julia Douglas resides at 807 Jefferson Street, Thibodaux LA 70301.

  Plaintiff has been exposed to PFAS through daily activity. Plaintiff regularly

  consumed drinking water containing elevated levels of PFAS as a result of the

  widespread use of PFAS containing consumer products and/or was directly exposed

  to various household product containing PFAS over decades. Plaintiff was exposed

  to PFAS for many years prior to development of Plaintiff's personal injuries,

  including at concentrations hazardous to their health. As a direct and proximate

  result of Plaintiff's exposure, Plaintiff has been diagnosed with Ulcerative Colitis.

        33.    Sharlene Dunn resides at 2882 West Elliott Drive, Spokane WA 99224.

  Plaintiff has been exposed to PFAS through daily activity. Plaintiff regularly

  consumed drinking water containing elevated levels of PFAS as a result of the

  widespread use of PFAS containing consumer products and/or was directly exposed

  to various household product containing PFAS over decades. Plaintiff was exposed

  to PFAS for many years prior to development of Plaintiff's personal injuries,

  including at concentrations hazardous to their health. As a direct and proximate

  result of Plaintiff's exposure, Plaintiff has been diagnosed with Thyroid Disease.

        34.    Christine Eakin resides at 275 Commercial Street, Adams OR 97810.

  Plaintiff has been exposed to PFAS through daily activity. Plaintiff regularly


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  consumed drinking water containing elevated levels of PFAS as a result of the

  widespread use of PFAS containing consumer products and/or was directly exposed

  to various household product containing PFAS over decades. Plaintiff was exposed

  to PFAS for many years prior to development of Plaintiff's personal injuries,

  including at concentrations hazardous to their health. As a direct and proximate

  result of Plaintiff's exposure, Plaintiff has been diagnosed with Thyroid Cancer and

  Thyroid Disease.

        35.    Gerald Ettinger resides at 22926 Shady Drive, Anilchik AK 99639.

  Plaintiff has been exposed to PFAS through daily activity. Plaintiff regularly

  consumed drinking water containing elevated levels of PFAS as a result of the

  widespread use of PFAS containing consumer products and/or was directly exposed

  to various household product containing PFAS over decades. Plaintiff was exposed

  to PFAS for many years prior to development of Plaintiff's personal injuries,

  including at concentrations hazardous to their health. As a direct and proximate

  result of Plaintiff's exposure, Plaintiff has been diagnosed with Ulcerative Colitis.

        36.    Charles Forsyth resides at 3307 Arrowhead Street, Eugene OR 97404.

  Plaintiff has been exposed to PFAS through daily activity. Plaintiff regularly

  consumed drinking water containing elevated levels of PFAS as a result of the

  widespread use of PFAS containing consumer products and/or was directly exposed

  to various household product containing PFAS over decades. Plaintiff was exposed


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  to PFAS for many years prior to development of Plaintiff's personal injuries,

  including at concentrations hazardous to their health. As a direct and proximate

  result of Plaintiff's exposure, Plaintiff has been diagnosed with Kidney Cancer.

        37.    Sang Fox resides at 7036 47th Loop NE, Olympia WA 98516. Plaintiff

  has been exposed to PFAS through daily activity. Plaintiff regularly consumed

  drinking water containing elevated levels of PFAS as a result of the widespread use

  of PFAS containing consumer products and/or was directly exposed to various

  household product containing PFAS over decades. Plaintiff was exposed to PFAS

  for many years prior to development of Plaintiff's personal injuries, including at

  concentrations hazardous to their health. As a direct and proximate result of

  Plaintiff's exposure, Plaintiff has been diagnosed with Thyroid Disease.

        38.    Heather Frazier resides at 1021 Milton Street, Louisville KY 40217.

  Plaintiff has been exposed to PFAS through daily activity. Plaintiff regularly

  consumed drinking water containing elevated levels of PFAS as a result of the

  widespread use of PFAS containing consumer products and/or was directly exposed

  to various household product containing PFAS over decades. Plaintiff was exposed

  to PFAS for many years prior to development of Plaintiff's personal injuries,

  including at concentrations hazardous to their health. As a direct and proximate

  result of Plaintiff's exposure, Plaintiff has been diagnosed with Thyroid Disease.




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        39.    John Garcia resides at 979 Ivory Road SE, Rio Rancho NM 87124.

  Plaintiff has been exposed to PFAS through daily activity. Plaintiff regularly

  consumed drinking water containing elevated levels of PFAS as a result of the

  widespread use of PFAS containing consumer products and/or was directly exposed

  to various household product containing PFAS over decades. Plaintiff was exposed

  to PFAS for many years prior to development of Plaintiff's personal injuries,

  including at concentrations hazardous to their health. As a direct and proximate

  result of Plaintiff's exposure, Plaintiff has been diagnosed with Kidney Cancer.

        40.    Francisco Gonzalez resides at 1102 Delafield Street D, Waukesha WI

  53188. Plaintiff has been exposed to PFAS through daily activity. Plaintiff regularly

  consumed drinking water containing elevated levels of PFAS as a result of the

  widespread use of PFAS containing consumer products and/or was directly exposed

  to various household product containing PFAS over decades. Plaintiff was exposed

  to PFAS for many years prior to development of Plaintiff's personal injuries,

  including at concentrations hazardous to their health. As a direct and proximate

  result of Plaintiff's exposure, Plaintiff has been diagnosed with Liver Cancer.

        41.    Bernard Hardwick resides at 4827 S Palouse Highway, Spokane WA

  99223. Plaintiff has been exposed to PFAS through daily activity. Plaintiff regularly

  consumed drinking water containing elevated levels of PFAS as a result of the

  widespread use of PFAS containing consumer products and/or was directly exposed


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  to various household product containing PFAS over decades. Plaintiff was exposed

  to PFAS for many years prior to development of Plaintiff's personal injuries,

  including at concentrations hazardous to their health. As a direct and proximate

  result of Plaintiff's exposure, Plaintiff has been diagnosed with Kidney Cancer and

  Liver Cancer.

        42.    Clifford Hendricks resides at 4210 Olivia Drive, North Charleston SC

  29418. Plaintiff has been exposed to PFAS through daily activity. Plaintiff regularly

  consumed drinking water containing elevated levels of PFAS as a result of the

  widespread use of PFAS containing consumer products and/or was directly exposed

  to various household product containing PFAS over decades. Plaintiff was exposed

  to PFAS for many years prior to development of Plaintiff's personal injuries,

  including at concentrations hazardous to their health. As a direct and proximate

  result of Plaintiff's exposure, Plaintiff has been diagnosed with Kidney Cancer.

        43.    Scott Hogge resides at 345 N 600 E Street, Roosevelt UT 84066.

  Plaintiff has been exposed to PFAS through daily activity. Plaintiff regularly

  consumed drinking water containing elevated levels of PFAS as a result of the

  widespread use of PFAS containing consumer products and/or was directly exposed

  to various household product containing PFAS over decades. Plaintiff was exposed

  to PFAS for many years prior to development of Plaintiff's personal injuries,




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  including at concentrations hazardous to their health. As a direct and proximate

  result of Plaintiff's exposure, Plaintiff has been diagnosed with Thyroid Disease.

        44.    Rene Hosey resides at 25506 NE 151st Street, Brush Prairie WA 98606.

  Plaintiff has been exposed to PFAS through daily activity. Plaintiff regularly

  consumed drinking water containing elevated levels of PFAS as a result of the

  widespread use of PFAS containing consumer products and/or was directly exposed

  to various household product containing PFAS over decades. Plaintiff was exposed

  to PFAS for many years prior to development of Plaintiff's personal injuries,

  including at concentrations hazardous to their health. As a direct and proximate

  result of Plaintiff's exposure, Plaintiff has been diagnosed with Thyroid Cancer.

        45.    Michael Howe resides at 11065 Burgess Avenue, Denham Springs LA

  70726. Plaintiff has been exposed to PFAS through daily activity. Plaintiff regularly

  consumed drinking water containing elevated levels of PFAS as a result of the

  widespread use of PFAS containing consumer products and/or was directly exposed

  to various household product containing PFAS over decades. Plaintiff was exposed

  to PFAS for many years prior to development of Plaintiff's personal injuries,

  including at concentrations hazardous to their health. As a direct and proximate

  result of Plaintiff's exposure, Plaintiff has been diagnosed with Liver Cancer.

        46.    Amanda Irvin resides at 1478 S County Road 500, West Rockport IN

  47635. Plaintiff has been exposed to PFAS through daily activity. Plaintiff regularly


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  consumed drinking water containing elevated levels of PFAS as a result of the

  widespread use of PFAS containing consumer products and/or was directly exposed

  to various household product containing PFAS over decades. Plaintiff was exposed

  to PFAS for many years prior to development of Plaintiff's personal injuries,

  including at concentrations hazardous to their health. As a direct and proximate

  result of Plaintiff's exposure, Plaintiff has been diagnosed with Thyroid Disease.

        47.    Nina Jefferson resides at 1110 Dorsey Lane, Morgantown WV 26501.

  Plaintiff has been exposed to PFAS through daily activity. Plaintiff regularly

  consumed drinking water containing elevated levels of PFAS as a result of the

  widespread use of PFAS containing consumer products and/or was directly exposed

  to various household product containing PFAS over decades. Plaintiff was exposed

  to PFAS for many years prior to development of Plaintiff's personal injuries,

  including at concentrations hazardous to their health. As a direct and proximate

  result of Plaintiff's exposure, Plaintiff has been diagnosed with Liver Cancer.

        48.    Charles Jenkins resides at 27 Founders Lake Court, Columbia SC

  29229. Plaintiff has been exposed to PFAS through daily activity. Plaintiff regularly

  consumed drinking water containing elevated levels of PFAS as a result of the

  widespread use of PFAS containing consumer products and/or was directly exposed

  to various household product containing PFAS over decades. Plaintiff was exposed

  to PFAS for many years prior to development of Plaintiff's personal injuries,


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  including at concentrations hazardous to their health. As a direct and proximate

  result of Plaintiff's exposure, Plaintiff has been diagnosed with Thyroid Disease.

        49.    Gregory Johnson resides at 1521 S Henry Avenue, Elkins WV 26241.

  Plaintiff has been exposed to PFAS through daily activity. Plaintiff regularly

  consumed drinking water containing elevated levels of PFAS as a result of the

  widespread use of PFAS containing consumer products and/or was directly exposed

  to various household product containing PFAS over decades. Plaintiff was exposed

  to PFAS for many years prior to development of Plaintiff's personal injuries,

  including at concentrations hazardous to their health. As a direct and proximate

  result of Plaintiff's exposure, Plaintiff has been diagnosed with Kidney Cancer and

  Thyroid Disease.

        50.    Lourdes Johnson as the Proposed Administrator of the Estate of Ronald

  Johnson resides at 3920 Agua Azul Court, Las Cruces NM 88012. Plaintiff has been

  exposed to PFAS through daily activity. Plaintiff regularly consumed drinking water

  containing elevated levels of PFAS as a result of the widespread use of PFAS

  containing consumer products and/or was directly exposed to various household

  product containing PFAS over decades. Plaintiff was exposed to PFAS for many

  years prior to development of Plaintiff's personal injuries, including at

  concentrations hazardous to their health. As a direct and proximate result of

  Plaintiff's exposure, Plaintiff has been diagnosed with Thyroid Disease.


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        51.    Karly Kentfield resides at 8789 Chapel Road, # C, Meridian MS 39305.

  Plaintiff has been exposed to PFAS through daily activity. Plaintiff regularly

  consumed drinking water containing elevated levels of PFAS as a result of the

  widespread use of PFAS containing consumer products and/or was directly exposed

  to various household product containing PFAS over decades. Plaintiff was exposed

  to PFAS for many years prior to development of Plaintiff's personal injuries,

  including at concentrations hazardous to their health. As a direct and proximate

  result of Plaintiff's exposure, Plaintiff has been diagnosed with Thyroid Disease.

        52.    Stephen Kline resides at 10256 Cherylann Road, Richmond VA 23236.

  Plaintiff has been exposed to PFAS through daily activity. Plaintiff regularly

  consumed drinking water containing elevated levels of PFAS as a result of the

  widespread use of PFAS containing consumer products and/or was directly exposed

  to various household product containing PFAS over decades. Plaintiff was exposed

  to PFAS for many years prior to development of Plaintiff's personal injuries,

  including at concentrations hazardous to their health. As a direct and proximate

  result of Plaintiff's exposure, Plaintiff has been diagnosed with Kidney Cancer and

  Thyroid Disease.

        53.    Ryan Kott resides in Platte SD 57369. Plaintiff has been exposed to

  PFAS through daily activity. Plaintiff regularly consumed drinking water containing

  elevated levels of PFAS as a result of the widespread use of PFAS containing


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  consumer products and/or was directly exposed to various household product

  containing PFAS over decades. Plaintiff was exposed to PFAS for many years prior

  to development of Plaintiff's personal injuries, including at concentrations

  hazardous to their health. As a direct and proximate result of Plaintiff's exposure,

  Plaintiff has been diagnosed with Kidney Cancer.

        54.    Kellie Kuntz resides at 808 Bethlehem Pike, A, Colmar PA 18915.

  Plaintiff has been exposed to PFAS through daily activity. Plaintiff regularly

  consumed drinking water containing elevated levels of PFAS as a result of the

  widespread use of PFAS containing consumer products and/or was directly exposed

  to various household product containing PFAS over decades. Plaintiff was exposed

  to PFAS for many years prior to development of Plaintiff's personal injuries,

  including at concentrations hazardous to their health. As a direct and proximate

  result of Plaintiff's exposure, Plaintiff has been diagnosed with Thyroid Disease.

        55.    Lawrance Livingston resides at 611 E Dewald Street, Fort Wayne IN

  46803. Plaintiff has been exposed to PFAS through daily activity. Plaintiff regularly

  consumed drinking water containing elevated levels of PFAS as a result of the

  widespread use of PFAS containing consumer products and/or was directly exposed

  to various household product containing PFAS over decades. Plaintiff was exposed

  to PFAS for many years prior to development of Plaintiff's personal injuries,




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  including at concentrations hazardous to their health. As a direct and proximate

  result of Plaintiff's exposure, Plaintiff has been diagnosed with Thyroid Disease.

        56.    Robert McGlone resides at 1321 Mill Creek Road, Milton WV 25541.

  Plaintiff has been exposed to PFAS through daily activity. Plaintiff regularly

  consumed drinking water containing elevated levels of PFAS as a result of the

  widespread use of PFAS containing consumer products and/or was directly exposed

  to various household product containing PFAS over decades. Plaintiff was exposed

  to PFAS for many years prior to development of Plaintiff's personal injuries,

  including at concentrations hazardous to their health. As a direct and proximate

  result of Plaintiff's exposure, Plaintiff has been diagnosed with Kidney Cancer.

        57.    Christopher Milam resides at 2863 E. Rosewood Drive, Mooresville IN

  46158. Plaintiff has been exposed to PFAS through daily activity. Plaintiff regularly

  consumed drinking water containing elevated levels of PFAS as a result of the

  widespread use of PFAS containing consumer products and/or was directly exposed

  to various household product containing PFAS over decades. Plaintiff was exposed

  to PFAS for many years prior to development of Plaintiff's personal injuries,

  including at concentrations hazardous to their health. As a direct and proximate

  result of Plaintiff's exposure, Plaintiff has been diagnosed with Kidney Cancer.

        58.    Dorka Morales resides at 1260 Park Avenue, Bridgeport CT 6604.

  Plaintiff has been exposed to PFAS through daily activity. Plaintiff regularly


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  consumed drinking water containing elevated levels of PFAS as a result of the

  widespread use of PFAS containing consumer products and/or was directly exposed

  to various household product containing PFAS over decades. Plaintiff was exposed

  to PFAS for many years prior to development of Plaintiff's personal injuries,

  including at concentrations hazardous to their health. As a direct and proximate

  result of Plaintiff's exposure, Plaintiff has been diagnosed with Thyroid Disease.

        59.    Mari Munoz resides at 14 Calle Luhn, Guaynabo PR 00966. Plaintiff

  has been exposed to PFAS through daily activity. Plaintiff regularly consumed

  drinking water containing elevated levels of PFAS as a result of the widespread use

  of PFAS containing consumer products and/or was directly exposed to various

  household product containing PFAS over decades. Plaintiff was exposed to PFAS

  for many years prior to development of Plaintiff's personal injuries, including at

  concentrations hazardous to their health. As a direct and proximate result of

  Plaintiff's exposure, Plaintiff has been diagnosed with Thyroid Cancer.

        60.    Jackie Nelson resides at 112 Jefferson Street, Booneville MS 38829.

  Plaintiff has been exposed to PFAS through daily activity. Plaintiff regularly

  consumed drinking water containing elevated levels of PFAS as a result of the

  widespread use of PFAS containing consumer products and/or was directly exposed

  to various household product containing PFAS over decades. Plaintiff was exposed

  to PFAS for many years prior to development of Plaintiff's personal injuries,


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  including at concentrations hazardous to their health. As a direct and proximate

  result of Plaintiff's exposure, Plaintiff has been diagnosed with Thyroid Disease and

  Ulcerative Colitis.

        61.    William Nelson resides at 500 Broadway, C316, Farmington UT

  84025. Plaintiff has been exposed to PFAS through daily activity. Plaintiff regularly

  consumed drinking water containing elevated levels of PFAS as a result of the

  widespread use of PFAS containing consumer products and/or was directly exposed

  to various household product containing PFAS over decades. Plaintiff was exposed

  to PFAS for many years prior to development of Plaintiff's personal injuries,

  including at concentrations hazardous to their health. As a direct and proximate

  result of Plaintiff's exposure, Plaintiff has been diagnosed with Kidney Cancer.

        62.    Colette Quillen resides at 8805 Highway 317, Deane KY 41812.

  Plaintiff has been exposed to PFAS through daily activity. Plaintiff regularly

  consumed drinking water containing elevated levels of PFAS as a result of the

  widespread use of PFAS containing consumer products and/or was directly exposed

  to various household product containing PFAS over decades. Plaintiff was exposed

  to PFAS for many years prior to development of Plaintiff's personal injuries,

  including at concentrations hazardous to their health. As a direct and proximate

  result of Plaintiff's exposure, Plaintiff has been diagnosed with Thyroid Disease.




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        63.    Priscilla Quinlan resides at 19 Gallery Road, Stafford VA 22554.

  Plaintiff has been exposed to PFAS through daily activity. Plaintiff regularly

  consumed drinking water containing elevated levels of PFAS as a result of the

  widespread use of PFAS containing consumer products and/or was directly exposed

  to various household product containing PFAS over decades. Plaintiff was exposed

  to PFAS for many years prior to development of Plaintiff's personal injuries,

  including at concentrations hazardous to their health. As a direct and proximate

  result of Plaintiff's exposure, Plaintiff has been diagnosed with Kidney Cancer.

        64.    John Riesenberg resides at 2340 Peachtree Road, Chesnee SC 29323.

  Plaintiff has been exposed to PFAS through daily activity. Plaintiff regularly

  consumed drinking water containing elevated levels of PFAS as a result of the

  widespread use of PFAS containing consumer products and/or was directly exposed

  to various household product containing PFAS over decades. Plaintiff was exposed

  to PFAS for many years prior to development of Plaintiff's personal injuries,

  including at concentrations hazardous to their health. As a direct and proximate

  result of Plaintiff's exposure, Plaintiff has been diagnosed with Thyroid Disease.

        65.    David Roberts resides at 344674 E 930th Road, Chandler OK 74834.

  Plaintiff has been exposed to PFAS through daily activity. Plaintiff regularly

  consumed drinking water containing elevated levels of PFAS as a result of the

  widespread use of PFAS containing consumer products and/or was directly exposed


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  to various household product containing PFAS over decades. Plaintiff was exposed

  to PFAS for many years prior to development of Plaintiff's personal injuries,

  including at concentrations hazardous to their health. As a direct and proximate

  result of Plaintiff's exposure, Plaintiff has been diagnosed with Kidney Cancer.

        66.    Ronney Rogers resides at 241 Walnut Street, Blawnox PA 15238.

  Plaintiff has been exposed to PFAS through daily activity. Plaintiff regularly

  consumed drinking water containing elevated levels of PFAS as a result of the

  widespread use of PFAS containing consumer products and/or was directly exposed

  to various household product containing PFAS over decades. Plaintiff was exposed

  to PFAS for many years prior to development of Plaintiff's personal injuries,

  including at concentrations hazardous to their health. As a direct and proximate

  result of Plaintiff's exposure, Plaintiff has been diagnosed with Kidney Cancer.

        67.    Robert Romeo resides at 5064 Windriver Drive, McKees Rocks PA

  15136. Plaintiff has been exposed to PFAS through daily activity. Plaintiff regularly

  consumed drinking water containing elevated levels of PFAS as a result of the

  widespread use of PFAS containing consumer products and/or was directly exposed

  to various household product containing PFAS over decades. Plaintiff was exposed

  to PFAS for many years prior to development of Plaintiff's personal injuries,

  including at concentrations hazardous to their health. As a direct and proximate

  result of Plaintiff's exposure, Plaintiff has been diagnosed with Thyroid Disease.


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        68.    Brian Schwab resides at 18730 Martins Landing Drive, Germantown

  MD 20874. Plaintiff has been exposed to PFAS through daily activity. Plaintiff

  regularly consumed drinking water containing elevated levels of PFAS as a result of

  the widespread use of PFAS containing consumer products and/or was directly

  exposed to various household product containing PFAS over decades. Plaintiff was

  exposed to PFAS for many years prior to development of Plaintiff's personal

  injuries, including at concentrations hazardous to their health. As a direct and

  proximate result of Plaintiff's exposure, Plaintiff has been diagnosed with Thyroid

  Cancer and Ulcerative Colitis.

        69.    Janice Scott resides at 12806 NE 43rd Circle, Vancouver WA 98682.

  Plaintiff has been exposed to PFAS through daily activity. Plaintiff regularly

  consumed drinking water containing elevated levels of PFAS as a result of the

  widespread use of PFAS containing consumer products and/or was directly exposed

  to various household product containing PFAS over decades. Plaintiff was exposed

  to PFAS for many years prior to development of Plaintiff's personal injuries,

  including at concentrations hazardous to their health. As a direct and proximate

  result of Plaintiff's exposure, Plaintiff has been diagnosed with Kidney Cancer.

        70.    Peter Sharp resides at 294 Cedar Grove Road, Shepherdsville KY

  40165. Plaintiff has been exposed to PFAS through daily activity. Plaintiff regularly

  consumed drinking water containing elevated levels of PFAS as a result of the


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  widespread use of PFAS containing consumer products and/or was directly exposed

  to various household product containing PFAS over decades. Plaintiff was exposed

  to PFAS for many years prior to development of Plaintiff's personal injuries,

  including at concentrations hazardous to their health. As a direct and proximate

  result of Plaintiff's exposure, Plaintiff has been diagnosed with Kidney Cancer and

  Thyroid Disease.

        71.    Jessica Silks resides at 237 W Locust Avenue, Carlisle PA 17013.

  Plaintiff has been exposed to PFAS through daily activity. Plaintiff regularly

  consumed drinking water containing elevated levels of PFAS as a result of the

  widespread use of PFAS containing consumer products and/or was directly exposed

  to various household product containing PFAS over decades. Plaintiff was exposed

  to PFAS for many years prior to development of Plaintiff's personal injuries,

  including at concentrations hazardous to their health. As a direct and proximate

  result of Plaintiff's exposure, Plaintiff has been diagnosed with Thyroid Disease and

  Ulcerative Colitis.

        72.    Sandra Sisk as the Proposed Administrator of the Estate of Douglas

  Sisk resides at 15805 SW Greens Way, Tigard OR 97224. Plaintiff has been exposed

  to PFAS through daily activity. Plaintiff regularly consumed drinking water

  containing elevated levels of PFAS as a result of the widespread use of PFAS

  containing consumer products and/or was directly exposed to various household


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  product containing PFAS over decades. Plaintiff was exposed to PFAS for many

  years prior to development of Plaintiff's personal injuries, including at

  concentrations hazardous to their health. As a direct and proximate result of

  Plaintiff's exposure, Plaintiff has been diagnosed with Thyroid Disease.

        73.   Charles Skinner resides at 1921 Robert Hall Boulevard, Chesapeake

  VA 23324. Plaintiff has been exposed to PFAS through daily activity. Plaintiff

  regularly consumed drinking water containing elevated levels of PFAS as a result of

  the widespread use of PFAS containing consumer products and/or was directly

  exposed to various household product containing PFAS over decades. Plaintiff was

  exposed to PFAS for many years prior to development of Plaintiff's personal

  injuries, including at concentrations hazardous to their health. As a direct and

  proximate result of Plaintiff's exposure, Plaintiff has been diagnosed with Kidney

  Cancer.

        74.   Dennis Smazal resides in Spencer WI 54479. Plaintiff has been exposed

  to PFAS through daily activity. Plaintiff regularly consumed drinking water

  containing elevated levels of PFAS as a result of the widespread use of PFAS

  containing consumer products and/or was directly exposed to various household

  product containing PFAS over decades. Plaintiff was exposed to PFAS for many

  years prior to development of Plaintiff's personal injuries, including at




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  concentrations hazardous to their health. As a direct and proximate result of

  Plaintiff's exposure, Plaintiff has been diagnosed with Kidney Cancer.

        75.    David Smith, as the Parent and Natural Guardian of A.S., resides at 30

  Taylor Avenue, Fort Thomas KY 41075. Plaintiff has been exposed to PFAS through

  daily activity. Plaintiff regularly consumed drinking water containing elevated levels

  of PFAS as a result of the widespread use of PFAS containing consumer products

  and/or was directly exposed to various household product containing PFAS over

  decades. Plaintiff was exposed to PFAS for many years prior to development of

  Plaintiff's personal injuries, including at concentrations hazardous to their health.

  As a direct and proximate result of Plaintiff's exposure, Plaintiff has been diagnosed

  with Kidney Cancer.

        76.    Holly Socciarelli resides at 409 Husky Drive, Sarver PA 16055.

  Plaintiff has been exposed to PFAS through daily activity. Plaintiff regularly

  consumed drinking water containing elevated levels of PFAS as a result of the

  widespread use of PFAS containing consumer products and/or was directly exposed

  to various household product containing PFAS over decades. Plaintiff was exposed

  to PFAS for many years prior to development of Plaintiff's personal injuries,

  including at concentrations hazardous to their health. As a direct and proximate

  result of Plaintiff's exposure, Plaintiff has been diagnosed with Thyroid Cancer and

  Thyroid Disease.


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        77.    Collin Stewart resides at 20 Red Cedar Lane, Sandpoint ID 83864.

  Plaintiff has been exposed to PFAS through daily activity. Plaintiff regularly

  consumed drinking water containing elevated levels of PFAS as a result of the

  widespread use of PFAS containing consumer products and/or was directly exposed

  to various household product containing PFAS over decades. Plaintiff was exposed

  to PFAS for many years prior to development of Plaintiff's personal injuries,

  including at concentrations hazardous to their health. As a direct and proximate

  result of Plaintiff's exposure, Plaintiff has been diagnosed with Liver Cancer.

        78.    Mark Stokesberry resides at 424 S 38th Street, Tacoma WA 98418.

  Plaintiff has been exposed to PFAS through daily activity. Plaintiff regularly

  consumed drinking water containing elevated levels of PFAS as a result of the

  widespread use of PFAS containing consumer products and/or was directly exposed

  to various household product containing PFAS over decades. Plaintiff was exposed

  to PFAS for many years prior to development of Plaintiff's personal injuries,

  including at concentrations hazardous to their health. As a direct and proximate

  result of Plaintiff's exposure, Plaintiff has been diagnosed with Kidney Cancer.

        79.    Christy Thatcher resides at 39 Wheat Court, Shepherdstown WV

  25443. Plaintiff has been exposed to PFAS through daily activity. Plaintiff regularly

  consumed drinking water containing elevated levels of PFAS as a result of the

  widespread use of PFAS containing consumer products and/or was directly exposed


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  to various household product containing PFAS over decades. Plaintiff was exposed

  to PFAS for many years prior to development of Plaintiff's personal injuries,

  including at concentrations hazardous to their health. As a direct and proximate

  result of Plaintiff's exposure, Plaintiff has been diagnosed with Thyroid Disease.

        80.    Dana Turner resides at 72 Gough Avenue, West Warwick RI 2893.

  Plaintiff has been exposed to PFAS through daily activity. Plaintiff regularly

  consumed drinking water containing elevated levels of PFAS as a result of the

  widespread use of PFAS containing consumer products and/or was directly exposed

  to various household product containing PFAS over decades. Plaintiff was exposed

  to PFAS for many years prior to development of Plaintiff's personal injuries,

  including at concentrations hazardous to their health. As a direct and proximate

  result of Plaintiff's exposure, Plaintiff has been diagnosed with Thyroid Disease.

        81.    Sherri Turner resides at 149 Michael Court, Anchorage AK 99504.

  Plaintiff has been exposed to PFAS through daily activity. Plaintiff regularly

  consumed drinking water containing elevated levels of PFAS as a result of the

  widespread use of PFAS containing consumer products and/or was directly exposed

  to various household product containing PFAS over decades. Plaintiff was exposed

  to PFAS for many years prior to development of Plaintiff's personal injuries,

  including at concentrations hazardous to their health. As a direct and proximate

  result of Plaintiff's exposure, Plaintiff has been diagnosed with Thyroid Cancer.


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        82.    Dawn VanDyke resides at 292 Creekside Drive, Jeffersonville IN

  47130. Plaintiff has been exposed to PFAS through daily activity. Plaintiff regularly

  consumed drinking water containing elevated levels of PFAS as a result of the

  widespread use of PFAS containing consumer products and/or was directly exposed

  to various household product containing PFAS over decades. Plaintiff was exposed

  to PFAS for many years prior to development of Plaintiff's personal injuries,

  including at concentrations hazardous to their health. As a direct and proximate

  result of Plaintiff's exposure, Plaintiff has been diagnosed with Ulcerative Colitis.

        83.    Dean Whitcomb resides at 17 Clark Street, North Springfield VT 5150.

  Plaintiff has been exposed to PFAS through daily activity. Plaintiff regularly

  consumed drinking water containing elevated levels of PFAS as a result of the

  widespread use of PFAS containing consumer products and/or was directly exposed

  to various household product containing PFAS over decades. Plaintiff was exposed

  to PFAS for many years prior to development of Plaintiff's personal injuries,

  including at concentrations hazardous to their health. As a direct and proximate

  result of Plaintiff's exposure, Plaintiff has been diagnosed with Thyroid Disease.

        84.    Brenda White resides at 798 Locust Street, Twin Falls ID 83301.

  Plaintiff has been exposed to PFAS through daily activity. Plaintiff regularly

  consumed drinking water containing elevated levels of PFAS as a result of the

  widespread use of PFAS containing consumer products and/or was directly exposed


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  to various household product containing PFAS over decades. Plaintiff was exposed

  to PFAS for many years prior to development of Plaintiff's personal injuries,

  including at concentrations hazardous to their health. As a direct and proximate

  result of Plaintiff's exposure, Plaintiff has been diagnosed with Thyroid Disease.

        85.    Marion White resides at 612 Pine Street, Reinbeck IA 50669. Plaintiff

  has been exposed to PFAS through daily activity. Plaintiff regularly consumed

  drinking water containing elevated levels of PFAS as a result of the widespread use

  of PFAS containing consumer products and/or was directly exposed to various

  household product containing PFAS over decades. Plaintiff was exposed to PFAS

  for many years prior to development of Plaintiff's personal injuries, including at

  concentrations hazardous to their health. As a direct and proximate result of

  Plaintiff's exposure, Plaintiff has been diagnosed with Thyroid Disease.

        86.    Brenda Williams resides at 3930 Skyview Drive, Jackson MS 39213.

  Plaintiff has been exposed to PFAS through daily activity. Plaintiff regularly

  consumed drinking water containing elevated levels of PFAS as a result of the

  widespread use of PFAS containing consumer products and/or was directly exposed

  to various household product containing PFAS over decades. Plaintiff was exposed

  to PFAS for many years prior to development of Plaintiff's personal injuries,

  including at concentrations hazardous to their health. As a direct and proximate

  result of Plaintiff's exposure, Plaintiff has been diagnosed with Kidney Cancer.


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        87.    Gwendolyn Windom resides at 65 E Windmill Lane, Las Vegas NV

  89123. Plaintiff has been exposed to PFAS through daily activity. Plaintiff regularly

  consumed drinking water containing elevated levels of PFAS as a result of the

  widespread use of PFAS containing consumer products and/or was directly exposed

  to various household product containing PFAS over decades. Plaintiff was exposed

  to PFAS for many years prior to development of Plaintiff's personal injuries,

  including at concentrations hazardous to their health. As a direct and proximate

  result of Plaintiff's exposure, Plaintiff has been diagnosed with Thyroid Cancer.

        88.    Kimberly Woods resides at 121 S 42nd Street, Louisville KY 40212.

  Plaintiff has been exposed to PFAS through daily activity. Plaintiff regularly

  consumed drinking water containing elevated levels of PFAS as a result of the

  widespread use of PFAS containing consumer products and/or was directly exposed

  to various household product containing PFAS over decades. Plaintiff was exposed

  to PFAS for many years prior to development of Plaintiff's personal injuries,

  including at concentrations hazardous to their health. As a direct and proximate

  result of Plaintiff's exposure, Plaintiff has been diagnosed with Thyroid Disease.

        89.    Timothy Woodson resides at 59 Dunkard Church Road, Augusta WV

  26704. Plaintiff has been exposed to PFAS through daily activity. Plaintiff regularly

  consumed drinking water containing elevated levels of PFAS as a result of the

  widespread use of PFAS containing consumer products and/or was directly exposed


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  to various household product containing PFAS over decades. Plaintiff was exposed

  to PFAS for many years prior to development of Plaintiff's personal injuries,

  including at concentrations hazardous to their health. As a direct and proximate

  result of Plaintiff's exposure, Plaintiff has been diagnosed with Thyroid Disease.

        90.    Krystal Worthington resides at 252 E Front Street, Boise ID 83702.

  Plaintiff has been exposed to PFAS through daily activity. Plaintiff regularly

  consumed drinking water containing elevated levels of PFAS as a result of the

  widespread use of PFAS containing consumer products and/or was directly exposed

  to various household product containing PFAS over decades. Plaintiff was exposed

  to PFAS for many years prior to development of Plaintiff's personal injuries,

  including at concentrations hazardous to their health. As a direct and proximate

  result of Plaintiff's exposure, Plaintiff has been diagnosed with Thyroid Cancer.

        91.    Heaven Worthman resides at 541 E School Street, Woonsocket RI

  02895. Plaintiff has been exposed to PFAS through daily activity. Plaintiff regularly

  consumed drinking water containing elevated levels of PFAS as a result of the

  widespread use of PFAS containing consumer products and/or was directly exposed

  to various household product containing PFAS over decades. Plaintiff was exposed

  to PFAS for many years prior to development of Plaintiff's personal injuries,

  including at concentrations hazardous to their health. As a direct and proximate

  result of Plaintiff's exposure, Plaintiff has been diagnosed with Thyroid Disease.


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        92.   Connie Wright resides at 249 Sun Valley, Monroe LA 71203. Plaintiff

  has been exposed to PFAS through daily activity. Plaintiff regularly consumed

  drinking water containing elevated levels of PFAS as a result of the widespread use

  of PFAS containing consumer products and/or was directly exposed to various

  household product containing PFAS over decades. Plaintiff was exposed to PFAS

  for many years prior to development of Plaintiff's personal injuries, including at

  concentrations hazardous to their health. As a direct and proximate result of

  Plaintiff's exposure, Plaintiff has been diagnosed with Thyroid Disease.

        93.   Aubrey Silvers resides at 3632 Sandyland Road, Macon MS 39341.

  Plaintiff has been exposed to PFAS through daily activity. Plaintiff regularly

  consumed drinking water containing elevated levels of PFAS as a result of the

  widespread use of PFAS containing consumer products and/or was directly exposed

  to various household product containing PFAS over decades. Plaintiff was exposed

  to PFAS for many years prior to development of Plaintiff's personal injuries,

  including at concentrations hazardous to their health. As a direct and proximate

  result of Plaintiff's exposure, Plaintiff has been diagnosed with Kidney Cancer.

        94.   J.W. Frazier resides at 741 Rosewood Lane, Coldwater MS 38618.

  Plaintiff has been exposed to PFAS through daily activity. Plaintiff regularly

  consumed drinking water containing elevated levels of PFAS as a result of the

  widespread use of PFAS containing consumer products and/or was directly exposed


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  to various household product containing PFAS over decades. Plaintiff was exposed

  to PFAS for many years prior to development of Plaintiff's personal injuries,

  including at concentrations hazardous to their health. As a direct and proximate

  result of Plaintiff's exposure, Plaintiff has been diagnosed with Kidney Cancer.

  B.    DEFENDANTS

        95.   Defendant     3M     Company,      f/k/a   Minnesota     Mining        and

  Manufacturing Co. ("3M") is a Delaware Corporation organized under the laws of

  the State of Delaware, with its principal place of business located at 3M Center,

  Saint Paul MN 55144-1000. It is subject to subject to service of process via its

  registered agent, The Corporation Trust Company, Corporation Trust Center,

  1209 North Orange Street, Wilmington DE 19801-1120.

        96.   Beginning before 1950 and until at least present, 3M designed,

  manufactured, marketed, distributed, and sold products containing PFAS.

        97.   Beginning before 1950 and until at least present, 3M designed,

  manufactured, marketed, distributed, and sold flurosurfactants and/or PFCs for use

  by other companies their productions and other applications.

        98.   Defendant EIDP, Inc., f/k/a E. I. du Pont de Nemours and

  Company ("E. I. du Pont") is a Delaware Corporation organized under the laws of

  the State of Delaware, with its principal place of business located at 974 Centre

  Road, Wilmington DE 19805-1269. It is subject to service of process via its



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  registered agent, The Corporation Trust Company, Corporation Trust Center, 1209

 North Orange Street, Wilmington DE 19801-1120.

        99.     Defendant The Chemours Company ("Chemours Co.") is a

  Delaware Corporation organized under the laws of the State of Delaware, with its

  principal place of business located at 1007 North Market Street, Wilmington DE

  19801-1227.    It is subject to service of process via its registered agent, The

  Corporation Trust Company, Corporation Trust Center, 1209 North Orange Street,

  Wilmington DE 19801-1120.

        100. In 2015, DuPont spun off its performance chemicals business to

  Chemours Co., along with vast environmental liabilities which Chemours Co.

  assumed, including those related to PFAS and fluorosurfactants.

        101. Chemours Co. was incorporated as a subsidiary of DuPont as of April

  30, 2015. From that time until July 2015, Chemours Co. was a wholly owned

  subsidiary of DuPont.

        102. In July 2015, DuPont spun off Chemours Co. and transferred to

  Chemours Co. its "performance chemicals" business line, which includes its

  fluoroproducts business, distributing shares of Chemours Co. stock to DuPont

  stockholders, and Chemours Co. has since been an independent, publicly traded

  company.




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        103. Defendant The Chemours Company FC, LLC ("Chemours FC") is

  a Delaware Limited Liability Company organized under the laws of the State of

  Delaware, with its principal place of business located at 1007 North Market Street,

  Wilmington DE 19801-1227. It is subject to service of process via its registered

  agent, The Corporation Trust Company, Corporation Trust Center, 1209 North

  Orange Street, Wilmington DE 19801-1120.

        104. Defendant Corteva, Inc. ("Corteva") is a Delaware Corporation

  organized under the laws of the State of Delaware, with its principal place of

  business located at 974 Centre Road, Wilmington DE 19805-1269. It is subject to

  service of process via its registered agent, The Corporation Trust Company,

  Corporation Trust Center, 1209 North Orange Street, Wilmington DE 19801-1120.

        105. Defendant Dupont de Nemours, Inc., f/k/a DowDuPont, Inc.

  ("Dupont de Nemours, Inc.") is a Delaware Corporation organized under the laws

  of the State of Delaware, with its principal place of business located at 974 Centre

  Road, Wilmington DE 19805-1269 and 2211 H. H. Dow Way, Midland MI 48642-

  4815. It is subject to service of process via its registered agent, The Corporation

  Trust Company, Corporation Trust Center, 1209 North Orange Street, Wilmington

  DE 19801-1120.

        106. On June 1, 2019, DowDuPont separated its agriculture business

  through the spin-off of Corteva.



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        107. Corteva was initially formed in February 2018. From that time until

  June 1, 2019, Corteva was a wholly owned subsidiary of DowDuPont.

        108. On June 1, 2019, DowDuPont distributed to DowDuPont stockholders

  all issued and outstanding shares of Corteva common stock by way of a pro-rata

  dividend. Following that distribution, Corteva became the direct parent of E. I. du

  Pont de Nemours & Co.

        109. Corteva holds certain DowDuPont assets and liabilities, including

  DowDuPont's agriculture and nutritional businesses.

        110. On June 1, 2019, DowDuPont, the surviving entity after the spin-off of

  Corteva and of another entity known as Dow, Inc., changed its name to DuPont de

 Nemours, Inc., to be known as DuPont ("New DuPont"). New DuPont retained

  assets in the specialty products business lines following the above-described spin-

  offs, as well as the balance of the financial assets and liabilities of E.I. DuPont not

  assumed by Corteva.

        111. Defendants EIDP, Inc.; The Chemours Company; The Chemours

  Company FC, LLC; Corteva, Inc.; and DuPont de Nemours, Inc. are collectively

  referred to as "DuPont" or the "DuPont Defendants" throughout this Complaint.

        112. Beginning in the 1950s and until at least present, the Dupont

  Defendants designed, manufactured, marketed, distributed, and sold products

  containing PFAS.


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        113. Beginning in the 1950s and until at least present, the Dupont

  Defendants designed, manufactured, marketed, distributed, and sold flurosurfactants

  and/or PFCs for use by other companies their productions and other applications.

        114. Defendant Honeywell International, Inc. ("Honeywell") f/k/a

  AlliedSignal, Inc. ("Honeywell") is a Delaware Corporation organized under the

  laws of the State of Delaware, with its principal place of business located at 855

  South Mint Street, Charlotte NC 28202-1517. It is subject to service of process via

  its registered agent, Corporation Service Company, 251 Little Falls Drive,

  Wilmington DE 19808-1674.

        115. Honeywell is a Fortune 100 company with a global workforce of

  approximately 130,000. It serves a variety of industries, including the specialty

  chemicals industry.

        116. In 1999, AlliedSignal, Inc. acquired Honeywell. The combined

  company adopted Honeywell's name, however, because of name recognition.

        117. Allied-Signal was an aerospace, automotive, and engineering company

  that was created through the 1985 merger of Allied Corp. and Signal Companies.

  Together, these companies had operated in the United States since at least the early

  1920s. Prior to the merger, a significant portion of Allied Corp.'s business was

  concerned with the chemical industry.

        118. Honeywell produces and sells hundreds of different product lines.


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        119. Upon information and belief, Honeywell designed, manufactured,

  marketed, distributed, and sold products containing PFAS.

        120. Upon information and belief, Honeywell designed, manufactured,

  marketed, distributed, and sold flurosurfactants and/or PFCs for use by other

  companies, their productions, and other applications.

        121. Defendant W. L. Gore & Associates, Inc., ("Gore") is a Delaware

  Corporation organized under the laws of the State of Delaware, with its principal

  place of business located at 555 Paper Mill Road, Newark DE 19711-7513. It is

  subject to service of process via its registered agent, The Corporation Trust

  Company, Corporation Trust Center, 1209 North Orange Street, Wilmington DE

  19801-1120.

        122. Gore is a privately held, multinational manufacturing and materials

  science company. Gore specializes in the development of membrane and polymer

  and fluoropolymer products, as well as their manufacture and application to a variety

  of industries and sectors, including healthcare, life sciences, mobile electronics,

  automotive, textiles and apparel, and aerospace.

        123. Upon information and belief, Gore designed, manufactured, marketed,

  distributed, and sold products containing PFAS.




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        124. Upon information and belief, Gore designed, manufactured, marketed,

  distributed, and sold flurosurfactants and/or PFCs for use by other companies, their

  productions, and other applications.

        125. Defendant AGC Chemicals Americas, Inc. ("AGC") is a Delaware

  Corporation organized under the laws of the State of Delaware, having its principal

  place of business at 55 East Uwchlan Avenue, Suite 201, Exton PA 19341-1204. It

  is subject to service of process via its registered agent, The Corporation Trust

  Company, Corporation Trust Center, 1209 North Orange Street, Wilmington DE

  19801-1120.

        126. On information and belief, AGC Chemicals Americas, Inc. was formed

  in 2004 and is a subsidiary of AGC Inc., a foreign corporation organized under the

  laws of Japan, with its a principal place of business in Tokyo, Japan.

        127. AGC manufactures specialty chemicals. It offers glass, electronic

  displays, and chemical products, including resins, water and oil repellants,

  greenhouse films, silica additives, and various fluorointermediates.

        128. On information and belief, AGC designed, manufactured, marketed,

  distributed, and sold PFCs containing PFAS and/or their chemical precursors for use

  in manufacturing PFAS containing products and other applications.

        129. Defendant Archroma U.S., Inc. ("Archroma") is a Delaware

  Corporation organized under the laws of the State of Delaware, with its a principal


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  place of business at 5435 77 Center Drive, Suite 10, Charlotte NC 28217-0750. It

  is subject to service of process via its registered agent, The Corporation Trust

  Company, Corporation Trust Center, 1209 North Orange Street, Wilmington DE

  19801-1120.

        130. On information and belief, Archroma was formed in 2013 when

  Clariant Corporation divested its textile chemicals, paper specialties, and emulsions

  business to SK Capital Partners.

        131. On information and belief, Archroma designed, manufactured,

  marketed, distributed, and sold PFCs containing PFAS and/or their chemical

  precursors for use in manufacturing PFAS containing products and other

  applications.

        132. Defendant Arkema Inc. is a foreign corporation organized and

  existing under the laws of Commonwealth of Pennsylvania, with its principal place

  of business at 900 First Avenue, King of Prussia PA 19406-1308. It is subject to

  service of process via its registered agent, Corporation Service Company, 251 Little

  Falls Drive, Wilmington DE 19808-1674.

        133. Arkema Inc. develops specialty chemicals and polymers.

        134. Arkema, Inc. is an operating subsidiary of Arkema France, S.A.

        135. On information and belief, Arkema Inc. designed, manufactured,

  marketed, distributed, and sold PFCs containing PFAS and/or their chemical


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  precursors for use in manufacturing PFAS containing products and other

  applications

        136. Defendant BASF Corporation ("BASF") is a Delaware Corporation

  organized under the laws of the State of Delaware, with its a principal place of

  business at 100 Park Avenue, Florham Park NJ 07932-1049. It is subject to service

  of process via its registered agent, The Corporation Trust Company, Corporation

  Trust Center, 1209 North Orange Street, Wilmington DE 19801-1120.

        137. On information and belief, BASF is the successor-in-interest to Ciba.

  Inc. (f/k/a Ciba Specialty Chemicals Corporation).

        138. On information and belief, BASF and/or Ciba Inc. designed,

  manufactured, marketed, distributed, and sold PFCs containing PFAS and/or their

  chemical precursors for use in manufacturing PFAS containing products and other

  applications

        139. Defendant Clariant Corporation ("Clariant") is a foreign

  corporation organized and existing under the laws of the State of New York, with its

  principal place of business at 4000 Monroe Road, Charlotte NC 28205-7706. It is

  subject to service of process via its registered agent, Corporation Service Company,

  251 Little Falls Drive, Wilmington DE 19808-1674.

        140. On information and belief, Clariant is the successor in interest to the

  specialty chemicals business of Sandoz Chemical Corporation ("Sandoz"). On


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  information and belief, Sandoz spun off its specialty chemicals business to form

  Clariant in 1995.

        141. On information and belief, Clariant designed, manufactured, marketed,

  distributed, and sold PFCs containing PFAS and/or their chemical precursors for use

  in manufacturing PFAS containing products and other applications

        142. Daikin America, Inc. ("Daikin") is a Delaware Corporation organized

  under the laws of the State of Delaware, with its principal place of business located

  at 20 Olympic Drive, Orangeburg NY 10962-2511. It is subject to service of process

  via its registered agent, The Corporation Trust Company, Corporation Trust Center,

  1209 North Orange Street, Wilmington DE 19801-1120. Daikin is a subsidiary of

  Daikin Industries Ltd., a Japanese chemical company.

        143. Daikin is part of the resin, synthetic rubber, and artificial and synthetic

  fibers and filaments manufacturing industry.

        144. On information and belief, Daikin designed, manufactured, marketed,

  distributed, and sold PFCs containing PFAS and/or their chemical precursors for use

  in manufacturing PFAS-containing products and other applications

        145. Defendant Solvay Specialty Polymers USA, L.L.C., ("Solvay") is a

  Delaware Limited Liability Company organized under the laws of the State of

  Delaware, with its principal place of business located at 4500 McGinnis Ferry Road,

  Alpharetta GA 30005-2203. It is subject to service of process via its registered


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  agent, Corporation Service Company, 251 Little Falls Drive, Wilmington DE

  19808-1674.

        146. Solvay produces chemical products for the automotive, aerospace,

  chemicals, and telecommunications sectors.

        147. On information and belief, Solvay designed, manufactured, marketed,

  distributed, and sold PFCs containing PFAS and/or their chemical precursors for use

  in manufacturing PFAS-containing products and other applications

        148. All Defendants, at all times material herein, acted by and through their

  respective agents, servants, officers and employees, actual or ostensible, who then

  and there were acting within the course and scope of their actual or apparent agency,

  authority or duties. Defendants are liable based on such activities, directly and

  vicariously.

   FACTUAL ALLEGATIONS RELEVANT TO ALL CAUSES OF ACTION

  A.    PFAS and Their Risk to Public Health

        149. PFAS are chemical compounds containing fluorine and carbon. These

  substances have been used for decades in the manufacture of, among other things,

  household and commercial products that resist heat, stains, oil, and water. These

  substances are not naturally occurring and must be manufactured.

        150. The two most widely studied types of these substances are PFOA and

  PFOS. PFOS and PFOA are eight carbon chain PFAS molecules, and are sometimes



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  referred to as "long-chain" PFAS. PFOA and PFOS have been in wide use since at

  least the 1950s.

        151. In contrast to long-chain PFAS, PFHxS, PFNA and Gen-X are

  considered "short-chain" PFAS as they contain molecules with less than eight

  carbon chains.

        152. There are many other additional forms of PFAS other than those

  specifically listed above.

        153. In April 2024 the Environmental Protection Agency (EPA) issued

  Maximum Contaminant Levels (MCLs) for the five forms of PFAS listed above,

  recognizing their potential for causing human health effects. EPA has also required

  public water systems to test for 29 different PFAS chemicals as part of is fifth

  Unregulated Contaminant Monitoring Rule.

        154. Individual states have imposed state level restrictions on other PFAS

  chemicals. For example, New York has passed regulations preventing the sale of

  new products in specific product categories containing any form of PFAS, defined

  as "a class of fluorinated organic chemicals containing at least one fully fluorinated

  carbon atom."

        155. PFAS have unique properties that cause them to be: (i) mobile and

  persistent, meaning that they readily spread into the environment where they break

  down very slowly; (ii) bioaccumulative and biomagnifying, meaning that they tend


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  to accumulate in organisms and up the food chain; and (iii) toxic, meaning that they

  pose serious health risks to humans and animals.

        156. PFAS easily dissolve in water, and thus they are mobile and easily

  spread in the environment. PFAS also readily contaminate soils and leach from the

  soil into groundwater, where they can travel significant distances.

        157. PFAS are characterized by the presence of multiple carbon-fluorine

  bonds, which are exceptionally strong and stable. As a result, PFAS are thermally,

  chemically, and biologically stable. They resist degradation due to light, water, and

  biological processes.

        158. Bioaccumulation occurs when an organism absorbs a substance at a rate

  faster than the rate at which the substance is lost by metabolism and excretion.

  Biomagnification occurs when the concentration of a substance in the tissues of

  organisms increases as the substance travels up the food chain.

        159. PFAS bioaccumulate/biomagnify in numerous ways. First, they are

  relatively stable once ingested, so that they bioaccumulate in individual organisms

  for significant periods of time. Because of this stability, any newly ingested PFAS

  will be added to any PFAS already present. In humans, PFAS remain in the body

  for years.

        160. PFAS biomagnify up the food chain. This occurs, for example, when

  humans eat fish that have ingested PFAS.


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        161. The chemical structure of PFAS makes them resistant to breakdown or

  environmental degradation. As a result, they are persistent when released into the

  environment.

        162. Exposure to PFAS is toxic and poses serious health risks to humans and

  animals.

        163. PFAS are readily absorbed after consumption or inhalation and

  accumulate primarily in the bloodstream, kidney, and liver.

        164. Beginning in approximately the 1950s, the Defendants created PFAS

  chemicals which do not occur in nature.      Shortly thereafter Defendants began

  manufacturing, marketing, distributing, and/or selling PFAS chemicals and/or

  products which contain PFAS or the chemical precursors that degrade into PFAS.

        165. On information and belief, Defendants were aware that the PFAS they

  designed, manufactured, marketed, distributed, and/or sold would be used in the

  PFAS products designed, manufactured, marketed, distributed, and/or sold by

  Defendants and others.

        166. On information and belief, Defendants designed, manufactured,

  marketed, distributed, and/or sold the PFAS contained in the PFAS products which

  was then discharged into the environment, resulting in widespread PFAS

  contamination.




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        167. On information and belief, the Defendants designed, manufactured,

  marketed, distributed, and/or sold the PFAS products which discharged PFAS into

  the environment resulting in widespread PFAS contamination.

        B.   Defendants' Knowledge of the Threats to Public Health and the
        Environment Posed by PFAS

        168. On information and belief, by at least the 1950s 3M and DuPont knew

  or should have known that PFOA and PFOS are mobile and persistent,

  bioaccumulative and biomagnifying, and toxic.

        169. On information and belief, 3M and DuPont concealed from the public

  and government agencies their knowledge of the threats to public health and the

  environment posed by PFOA and PFOS.

        170. Defendants other than 3M or DuPont became aware of the dangers of

  PFAS chemicals at various times beginning in the 1950s. Such awareness came

  from a combination of pubic data, internal data and studies, and industry trade secrets

  and knowledge.

        171. Defendants understood how stable the fluorinated surfactants used in

  PFAS products are when released into the environment from their first sale to a

  customer, yet they failed to warn their customers or provide reasonable instruction

  on how to manage wastes generated from their products.




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                   i.   1940s and 1950s: 3M, DuPont, and the Development of a Toxic
                        Chemical Family

         172. The development of this family of chemical compounds began with

  Defendant 3M in the 1940s. At that time, 3M's Central Research Laboratory was

  working with a scientist at Penn State University, Joseph H. Simons, who had

  developed and patented a process of preparing fluorine compounds through

  electrochemical fluorination ("ECF"). In 1945, 3M acquired Simons' ECF patents.

  It would be another three years before 3M's Central Research developed fluorinated

  compounds that could be used for commercial applications. During that time, 3M

  scientists continuously researched and created new fluorochemicals; in the words of

  one researcher, "[a]lmost every day we made a new molecule which had never been

  on the face of the earth before."'

         173. From the early days of its fluorochemical research, 3M recognized the

  very characteristics that make PFAS persistent pollutants in the environment today.

  For example, Simons' 1948 patent for the ECF process, which was assigned to 3M,

  stated that the compounds produced through ECF are non-corrosive, and of little

  chemical reactivity, and do not react with any of the metals at ordinary temperatures

  and react only with the more chemically reactive metals such as sodium, at elevated




  2 Neil McKay, A Chemical History of 3M:• 1933-1990.
  https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1365.pdf


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  temperatures.3 The patent also stated that the fluorochemicals produced by the ECF

  process do not react with other compounds or reagents due to the blanket of fluorine

  atoms surrounding the carbon skeleton of the molecule. 3M understood that the

  stability of the carbon-to-fluorine bonds prevented its fluorosurfactants from

  undergoing further chemical reactions or degrading under natural processes in the

  environment.4

         174. 3M was also aware of the thermal stability of its fluorinated compounds

  prior to commercial production. Simons' ECF patent application states that the

  compounds produced by the ECF process were thermally stable at temperatures up

  to 750° C (1382° F). Additional research by 3M expanded its understanding of the

  thermal stability of fluorinated compounds.5

         175. In 1949, 3M built the first manufacturing facility to expand ECF from

  laboratory research to commercial production, and it began to present its

  fluorochemical research in order to find potential uses and customers for the

  compounds it was manufacturing.




 3 Simons, J. H., Fluorination of Organic Compounds, U.S. Patent No. 2,447,717. August 24, 1948, available
 at https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1005.pdf.
  4 Simons, J. H., 1950. Fluorocarbons and Their Production. Fluorine Chemistry, 1(12): 401-422, available
  at https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX3008.pdf.
  5 Bryce, T. J., 1950. Fluorocarbons - Their Properties and Wartime Development. Fluorine Chemistry,

  1(13): 423-462.



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          176. 3M soon found a customer: DuPont. In 1951, DuPont began purchasing

  a perfluorinated carboxylic acid (perfluorooctanoic acid or PFOA) for use in

  manufacturing a non-stick coating called Teflon.

          177. Even then, 3M's research had already documented that PFAS

  accumulate in the blood of mice exposed to the chemicals in laboratory tests.6 Also,

  a 1956 study by researchers at Stanford University found that PFAS bind to proteins

  in human blood.'

          178. In 1964, a group of DuPont employees working in Teflon

  manufacturing became sick after their department was moved to a more enclosed

  workspace.' They experienced chills, fever, difficulty breathing, and a tightness in

  the chest-symptoms referred to variously as "polymer-fume fever," "Teflon flu,"

  or simply, "the shakes." Polymer-fume fever was first reported in medical literature

  in 1951.




  6 1950 3M test study results with Perfluorobutyric acid. https://static.ewg.org/reports/2019/pfa-
  timeline/1950 Mice.pdf? ga=2.21758526.426747500.1673645134-2012946541.1673645134.
  7 Perfluorooctanoic Acid Interactions with Human Serum Albumin, available at
  https://static.ewg.org/reports/2019/pfa-
  timeline/1956_Stanford.pdf?_ga=2.59569645.1994765108.1678715813-813372143.1678715813.
  8 Charles E. Lewis and Gerald R. Kerby, An Epidemic of Polymer-Fume Fever, 191 JAMA 375 (February
  1, 1965).


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                    ii.   1960s: PFAS Chemicals Environmental Hazards Come Into
                          Focus

          179. By at least the end of the 1960s, additional research and testing

  performed by 3M and DuPont indicated that fluorosurfactants, including at least

  PFOA, because of their unique chemical structure, were resistant to environmental

  degradation and would persist in the environment essentially unaltered if allowed to

  enter the environment.

          180. One 3M employee wrote in 1964, "This chemical stability also extends

  itself to all types of biological processes; there are no known biological organisms

  that are able to attack the carbon-fluorine bond in a fluorocarbon."' Thus, 3M knew

  by the mid-1960s that its fluorosurfactants were immune to chemical and biological

  degradation in soils and groundwater.

          181. 3M also knew by 1964 that fluorocarbon carboxylic acids and

  fluorocarbon sulfonic acids, when dissolved, dissociated to form highly stable

  perfluorocarboxylate and perfluorosulfonate ions.                    Later studies by 3M on the

  adsorption and mobility of FC-95 (the potassium salt of PFOS) and FC-143 (the

  ammonium salt of PFOA) in soils indicated very high solubility and very high

  mobility in soils for both compounds.1°



  9 Bryce, H.G., Industrial and Utilitarian Aspects of Fluorine Chemistry (1964), available at
  https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX3022.pdf.
  1° Technical Report Summary re : Adsorption of FC 95 and FC143 on Soil, Feb. 27, 1978, available at
  https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1158.pdf.


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        182. Also, in a 1965 study sponsored by DuPont where rats were fed a PFAS

  compound over a ninety-day period determined that the rats had liver damage and

  an showed an increased size in the spleen.

        183. Despite early warnings of the toxic, persistent, and bioaccumulative

  nature of PFAS, these chemicals began to be used in a products that would be

  released in large quantities directly into the environment whenever used.

        184. On information and belief, the Defendants designed, manufactured,

  marketed, distributed, and/or sold PFAS products discharged into the environment

  resulting in widespread PFAS contamination.

        185. The Defendants treated their PFAS products as proprietary information

  and did not disclose the specific chemical ingredients of their formulations to

  government agencies or the public.

        186. Some or all of the Defendants understood how stable PFAS chemicals

  are when released into the environment from their first sale to a customer, yet they

  failed to warn their customers or provide reasonable instruction on how to manage

  wastes generated from their products.

               iii.   1970s-1980s: Defendants Deepening Knowledge of the Risks
                      of PFAS

        187. By at least the 1970s, as Defendants expanded the market for products

 containing PFAS, 3M and DuPont knew or should have known that PFAS are mobile

 and persistent, bioaccumulative and biomagnifying, and toxic.


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         188. During the 1970s, 3M also learned that PFAS chemicals accumulated

  in the human body and were "even more toxic" than previously believed.

         189. An internal memo from 3M in 1971 states that "the thesis that there is

  `no natural sink' for fluorocarbons obviously demands some attention."11 But if 3M

  did give this issue the attention demanded at this time, it did not share it with the

  public.

         190. In 1975, two independent toxicologists, Dr. Warren Guy and Donald

 Taves, discovered that an unidentified fluorine compound had been found in human

 blood sampled from different blood banks. Dr. Guy contacted 3M to ask if it knew of

 "possible sources" of the chemicals.12 3M's scientists concluded internally that the

 fluorine compounds resembled PFOS manufactured by 3M, but 3M did not share this

 conclusion with the independent toxicologists or anyone else outside of 3M.

         191. 3M did, however, test the blood of its own workers in 1976, finding "up

 to 1000 times `normal' amounts of organically bound fluorine in their blood.'

         192. By the mid-1970s, 3M and other Defendants had an intimate

  understanding of the persistent nature of PFCs. A 1976 study, for example, observed




 'Memorandum from H.G. Bryce to R.M. Adams re : Ecological Aspects of Fluorocarbons, Sept. 13, 1971,
 available at https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1088.pdf.
  12 Memorandum from G.H. Crawford to L.C. Krogh et al. re: Fluorocarbons in Human Blood Plasma,
  Aug. 20, 1975, available at https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1118.pdf.
  13 3M Chronology — Fluorochemicals in Blood, Aug. 26, 1977, available at
  https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1144.pdf.


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  no biodegradation of FC-95, the potassium salt of PFOS; a result 3M characterized

  as "unsurprising" in light of the fact that "[b]iodegradation of FC 95 is improbable

  because it is completely fluorinated."14

         193. A 1978 3M biodegradation study likewise reported that an "extensive

  study strongly suggest[ed]" one of its PFAS was "likely to persist in the environment

  for extended period unaltered by metabolic attack."15 A year later, a 3M study

  reported that one of its fluorosurfactants "was found to be completely resistant to

  biological test conditions," and that it appeared waterways were the

  fluorosurfactant's "environmental sink."'

         194. At the same time, several studies sponsored by 3M showed that the

 fluorosurfactants used in PFAS products were even more toxic than previously

 believed. A study of subacute toxicity in rhesus monkeys, in which the monkeys

 were to be given doses of PFOS over ninety days, had to be redesigned and repeated

 "[b]ecause of unexpected early mortalities in all monkeys at all levels."17 None of



  14 Technical Report Summary, August 12, 1976 [3MA01252037].
  15 Technical Report Summary re : Fate of Fluorochemicals in the Environment, Biodegradation Studies of
  Fluorocarbons - II, Jan. 1, 1978, available at
  https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1153.pdf
  16 Technical Report Summary re : Fate of Fluorochemicals in the Environment, Biodegradation Studies of
  Fluorocarbons - III, July 19, 1978, available at
  https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1179.pdf.
  17 Ninety-Day Subacute Rhesus Monkey Toxicity Study, Dec. 18, 1978, available at
  https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1191.pdf Aborted FC95 Monkey Study,
  Jan. 2, 1979, available at https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1193.pdf FC-95,
  FC-143 and FM-3422 — 90 Day Subacute Toxicity Studies Conducted at IRDC — Review of Final Reports
  and Summary, available at https://static.ewg.org/reports/2019/pfa-


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 the monkeys survived past twenty days. As a summary of the study stated, PFOS

 "proved to be considerably more toxic to monkeys than anticipated[.]" In addition,

 PFOA reduced the survival rate of fathead minnow fish eggs," and PFOS and PFOA

 were shown to be toxic to rats.19 As the summary documented observed, "[b]ecause

 of the apparent persistence of these fluorochemicals in the body, the most important

 question remains possible long term effects."20

         195. In 1979, 3M also completed a comprehensive biodegradation and

  toxicity study covering investigations between 1975 and 1978.21 More than a decade

  after 3M began selling products containing fluorosurfactants it wrote: "there has

  been a general lack of knowledge relative to the environmental impact of these

  chemicals." The report ominously asked, "If these materials are not biodegradable,

  what is their fate in the environment?"22



  timeline/1977_Most%20Toxic.pdf?_ga=2.34744996.426747500.1673645134-2012946541.1673645134.
  18 The Effects of Continuous Aqueous Exposure to 78.03 on Hatchability of Eggs and Growth and
  Survival of Fry of Fathead Minnow, June 1978, available at
  https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1176.pdf.
  19 Acute Oral Toxicity (LD50) Study in Rats (FC-143), May 5, 1978, available at
  https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1170.pdf; FC-95, FC-143 and FM-3422 — 90
  Day Subacute Toxicity Studies Conducted at IRDC — Review of Final Reports and Summary, Mar. 20,
  1979, available at https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1199.pdf.
  2° Id. (FC-95, FC-143 and FM-3422 — 90 Day Subacute Toxicity Studies Conducted at IRDC — Review of
  Final Reports and Summary, Mar. 20, 1979, available at
  https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1199.pdf.)
  21 Technical Report Summary, Final Comprehensive Report on FM 3422, Feb. 2, 1979, available at
  https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX2563.pdf.
  22 3M Internal Correspondence from R. Howell to C. Olsen re: Fluorochemicals in the Environment with
  attachments, available at https://www.ag.state.rtm.us/Office/Cases/3M/docs/PTX/PTX1372.pdf.


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          196. In 1979, 3M and DuPont discussed 3M's discovery of high levels of

  PFOS in the blood of its workers. Both companies came to the same conclusion that

  there was "no reason" to notify the EPA of the finding.23 3M told the EPA in 1980

  only that it had discovered PFOS in the blood of "some of our plant employees."

          197. By at least the end of the 1980s, additional research and testing

  performed by Defendants, including at least 3M and DuPont, indicated that elevated

  incidence of certain cancers and other adverse health effects, including elevated liver

  enzymes and birth defects, had been observed among workers exposed to such

  materials, including at least PFOA, but such data was not published, provided to

  governmental entities as required by law, or otherwise publicly disclosed at the time.

          198. In 1981, DuPont tested for and found PFOA in the blood of female

  plant workers at its Washington Works plant in Parkersburg, West Virginia, where

  it had been using 3M's PFOA to manufacture Teflon since 1951. DuPont observed

  and documented pregnancy outcomes in exposed workers, finding two of seven

  children born to female plant workers between 1979 and 1981 had birth defects—

  one an "unconfirmed" eye and tear duct defect, and one a nostril and eye defect.'




  23 Memorandum from R.A. Prokop to J.D. Lazerte re: Disclosure of Information on Levels of
  Fluorochemicals in Blood, July 26, 1979, available at
  https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX2723.pdf.
  24 C-8 Blood Sampling Results, available at http://tiny.cc/v8zlmz.




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         199. In 1983, 3M researchers concluded that concerns about PFAS "give rise

  to concern for environmental safety," including "legitimate questions about the

  persistence, accumulation potential, and ecotoxicity of fluorochemicals in the

  environment."25 That same year, 3M completed a study finding that PFOS caused

  the growth of cancerous tumors in rats.26 This finding was later shared with DuPont

  and led them to consider whether "they may be obliged under their policy to call FC-

  143 a carcinogen in animals."27

         200. In 1984, 3M documented a trend of increasing levels of PFOS in the

  bodies of 3M workers, leading one of the company's medical officers to warn in an

  internal memo: "we must view this present trend with serious concern. It is certainly

  possible that . . . exposure opportunities are providing a potential uptake of

  fluorochemicals that exceeds excretion capabilities of the body."28

         201. The same year, DuPont tested drinking water near its Washington

  Works plant and found elevated PFOA levels in the water, but, after deciding that




 25 3M Environmental Laboratory (EE & PC), Fate of Fluorochemicals - Phase II, May 20, 1983, available
 at https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1284.pdf.
  26 Two Year Oral (Diet) Toxicity/Carcinogenicity Study of Fluorochemical FC-143 in Rats, Volume 1 of
  4, Aug. 29, 1987, available at https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1337.pdf.
  27 Memorandum from R.G. Perkins to F.D. Griffith re: Summary of the Review of the FC-143 Two-Year
 Feeder Study Report to be presented at the January 7, 1988 meeting with DuPont, January 5, 1988,
 available at https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1343.pdf.
  28 Memorandum from D.E. Roach to P.F. Riehle re: Organic Fluorine Levels, Aug. 31, 1984, available at
  https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1313.pdf.


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  limiting PFOA discharge from the plant would not be "economically attractive," it

  did nothing to reduce contamination from the plant.

                   iv.    1990s-2000s: 3M and DuPont Under Scrutiny

          202. Federal law requires chemical manufacturers and distributors to

  immediately notify the EPA if they have information that "reasonably supports the

  conclusion that such substance or mixture presents a substantial risk of injury to

  health or the environment." Toxic Substances Control Act ("TSCA") § 8(e), 15

  U.S.C. § 2607(e).

          203. Despite its decades of research, 3M waited until May 1998 to submit a

  report to the EPA under TSCA Section 8(e). Even in that submission, however, 3M

  downplayed what it knew, according to a former employee:

          Just before that submission we found PFOS in the blood of eaglets—eaglets
          still young enough that their only food consisted of fish caught in remote lakes
          by their parents. This finding indicates a widespread environmental
          contamination and food chain transfer and probable bioaccumulation and bio-
          magnification. This is a very significant finding that the 8(e) reporting rule
          was created to collect. 3M chose to report simply that PFOS had been found
          in the blood of animals, which is true but omits the most significant
          information.29

          204. Although 3M acknowledged, in 1998, the presence of PFOS in the

 blood of the general population, it insisted that it did not "believe that any reasonable

 basis exists to conclude that PFOS `presents a substantial risk of injury to health or


  29 Letter from R. Purdy, Mar. 28, 1999, available at
  https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1001.pdf.


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 the environment.' Internally, the message was quite different: 3M's Manager of

 Corporate Toxicology advised the company to replace "PFOS-based chemistry as

 these compounds [are] VERYpersistent and thus insidiously toxic."

        205. In 2000, 3M, after half a century of manufacturing fluorinated

 chemicals through ECF, announced that it would phase out its production of several

 long-chain PFAS compounds, including PFOS, although it continued to manufacture

 other PFAS chemicals using short-chain chemistry.

        206. In December 2022, 3M finally announced a plan to phase out remaining

 PFAS manufacturing by the end of 2025.

        207. In April 2006, 3M agreed to pay EPA a penalty of more than $1.5

  million after being cited for 244 violations of the TSCA, which included violations

  for failing to disclose studies regarding PFOS, PFOA, and other PFCs dating back

  decades.

        208. Likewise, in December 2005, the EPA announced it was imposing the

 "Largest Environmental Administrative Penalty in Agency History" against DuPont

  based on evidence that it violated the TSCA by concealing the environmental and

  health effects of PFOA.

        209. On information and belief, Defendants knew or should have known that

  products containing PFOA or PFOS would very likely injure and/or threaten public

  health and the environment, even when used as intended or directed.


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         210. Defendants failed to warn of these risks to the environment and public

  health, including the impact of their products on the quality of unprotected water

  sources.

         211. Defendants were all sophisticated and knowledgeable in the art and

  science of designing, formulating, and manufacturing PFAS products.                   They

  understood far more about the properties of their products—including the potential

  hazards they posed to human health and the environment—than any of their

  customers. Still, Defendants declined to use their sophistication and knowledge to

  design safer products.

         C.    The Impact of PFAS on the Environment and Human Health Is
         Finally Revealed

         212. As discussed above, neither 3M, DuPont, nor, on information and

  belief, any other Defendant complied with their obligations to notify EPA about the

 "substantial risk of injury to health or the environment" posed by their PFAS

  products. See TSCA § 8(e).

         213. Despite decades of research, 3M first shared its concerns with EPA in

  the late 1990s. In a May 1998 report submitted to EPA, "3M chose to report simply

  that PFOS had been found in the blood of animals, which is true but omits the most

  significant information," according to a former 3M employee.3°


  3° Id. Letter from R. Purdy, Mar. 28, 1999, available at
  https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1001.pdf.


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      214. On information and belief, 3M began in 2000 to phase out its

production of products that contained PFAS in response to pressure from the EPA.

      215. Once the truth about PFAS was revealed, researchers began to study

the environmental and health effects associated with them, including a "C8 Science

Panel" formed out of a class action settlement arising from contamination from

DuPont's Washington Works located in Wood County, West Virginia.

      216. The C8 panel consisted of three epidemiologists specifically tasked

with determining whether there was a probable link between PFOA exposure and

human diseases. In 2012, the panel found probable links between PFOA and kidney

cancer, testicular cancer, ulcerative colitis, thyroid disease, pregnancy-induced

hypertension (including preeclampsia), and hypercholesterolemia.

      217. Human health effects associated with PFOS exposure include immune

system effects, changes in liver enzymes and thyroid hormones, low birth weight,

high uric acid, and high cholesterol. In laboratory testing on animals, PFOA and

PFOS have caused the growth of tumors, changed hormone levels, and affected the

function of the liver, thyroid, pancreas, and immune system.

      218. The injuries caused by PFAS can arise months or years after exposure.

      219. Even after the C8 Science Panel publicly announced that human

exposure to 50 parts per trillion, or more, of PFOA in drinking water for one year or

longer had "probable links" with certain human diseases, including kidney cancer,


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testicular cancer, ulcerative colitis, thyroid disease, preeclampsia, and medically-

diagnosed high cholesterol, Defendants repeatedly assured and represented to

governmental entities, their customers, and the public (and continue to do so) that

the presence of PFOA in human blood at the levels found within the United States

presents no risk of harm and is of no legal, toxicological, or medical significance of

any kind.

      220. Furthermore, Defendants have represented to and assured such

governmental entities, their customers, and the public (and continue to do so) that

the work of the independent C8 Science Panel was inadequate to satisfy the standards

of Defendants to prove such adverse effects upon and/or any risk to humans with

respect to PFOA in human blood.

      221. At all relevant times, Defendants, through their acts and/or omissions,

controlled, minimized, trivialized, manipulated, and/or otherwise influenced the

information that was published in peer-review journals, released by any

governmental entity, and/or otherwise made available to the public relating to PFAS

in human blood and any alleged adverse impacts and/or risks associated therewith,

effectively preventing the public from discovering the existence and extent of any

injuries/harm as alleged herein.




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       D.   Federal, State, and International Government Agencies Call for
       Monitoring and Cleanup of PFAS Contamination

       222. On May 2, 2012, the EPA published its Third Unregulated Contaminant

Monitoring Rule ("UCMR3"), requiring public water systems nationwide to monitor

for thirty contaminants of concern between 2013 and 2015, including PFOS and

PFOA.31

       223. In the May 2015 "Madrid Statement on Poly- and Perfluoroalkyl

Substances (PFAS's)," scientists and other professionals from a variety of

disciplines, concerned about the production and release into the environment of

PFOA, called for greater regulation, restrictions, limits on the manufacture and

handling of any PFOA containing product, and to develop safe non-fluorinated

alternatives to these products to avoid long-term harm to human health and the

environment.32

       224. On May 25, 2016, the EPA released a lifetime health advisory level

(HAL) for drinking water and health effects support documents for PFOS and

PFOA.33 The EPA developed the HAL to assist governmental officials in protecting



31 Revisions to the Unregulated Contaminant Monitoring Regulation (UCMR 3) for Public Water
Systems, 77 Fed. Reg: 26072 (May 2, 2012).
32 Blum A, Balan SA, Scheringer M, Trier X, Goldenman G, Cousins IT, Diamond M, Fletcher T, Higgins
C, Lindeman AE, Peaslee G, de Voogt P, Wang Z, Weber R. 2015. The Madrid statement on poly- and
perfluoroalkyl      substances    (PFASs).  Environ    Health     Perspect     123:A107—A111;
http://dx.doi.org/10.1289/ehp.1509934.
33 See Fed. Register, Vol. 81, No. 101, May 25, 2016, Lifetime Health Advisories and Health Effects
Support Documents for Perfluorooctanoic Acid and Perfluorooctane Sulfonate.


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public health when PFOS and PFOA are present in drinking water. The EPA HAL

identified the concentration of PFOS and PFOA in drinking water at or below which

adverse health effects are not anticipated to occur over a lifetime of exposure at 0.07

ppb or 70 ppt. The HAL was based on peer-reviewed studies of the effects of PFOS

and PFOA on laboratory animals (rats and mice) and was also informed by

epidemiological studies of human populations exposed to PFOS. These studies

indicated that exposure to PFOS and PFOA over the HAL could result in adverse

health effects, including:

          a. Developmental effects to fetuses during pregnancy or to breastfed infants

             (e.g., low birth weight, accelerated puberty, skeletal variations);

          b. Cancer (testicular and kidney);

          c. Liver effects (tissue damage);

          d. Immune effects (e.g., antibody production and immunity);

          e. Thyroid disease and other effects (e.g., cholesterol changes).

      225. In 2016, the National Toxicology Program of the United States

Department of Health and Human Services ("NTP") and the International Agency

for Research on Cancer ("IARC") both released extensive analyses of the expanding

body of research regarding the adverse effects of PFCs. The NTP concluded that

both PFOA and PFOS are "presumed to be an immune hazard to humans" based on

a "consistent pattern of findings" of adverse immune effects in human


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(epidemiology) studies and "high confidence" that PFOA and PFOS exposure was

associated with suppression of immune responses in animal (toxicology) studies.'

       226. IARC similarly concluded that there is "evidence" of "the

carcinogenicity of . . . PFOA" in humans and in experimental animals, meaning that

"[a] positive association has been observed between exposure to the agent and cancer

for which a causal interpretation is . . . credible."35

       227.     California has listed PFOA and PFOS to its Proposition 65 list as a

chemical known to cause reproductive toxicity under the Safe Drinking Water and

Toxic Enforcement Act of 1986.36

       228. The United States Senate and House of Representatives passed the

National Defense Authorization Act in November 2017, which included $42 million

to remediate PFC contamination from military bases, as well as devoting $7 million

toward the Investing in Testing Act, which authorizes the Center for Disease Control




34 See U.S. Dep't of Health and Human Services, Nat'l Toxicology Program, NTP Monograph:
Immunotoxicity Associated with Exposure to Perfluorooctanoic Acid or Perfluorooctane Sulfonate (Sept.
2016), at 1, 17, 19, available at
https://ntp.niehs.nih.govintp/ohat/pfoa_pfos/pfoa_pfosmonograph 508.pdf.
35 See Intl Agency for Research on Cancer, IARC Monographs: Some Chemicals Used as Solvents and in
Polymer Manufacture (Dec. 2016), at 27, 97, available at
http://monographs.iarc.fr/ENG/Monographs/vol110/mono110.pdf.
36 California Office of Environmental Health Hazard Assessment, Chemicals Listed Effective Nov. 10,
2017 as Known to the State of California to Cause Reproductive Toxicity: Perfluorooctanoic Acid
(PFOA) and Perfluorooctane Sulfonate (PFOS), Nov. 9, 2017, available at
https://oehha.ca.gov/proposition-65/crnr/chemicals-listed-effective-november-10-2017-known-state-
california-cause.


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and Prevention ("CDC") to conduct a study into the long-term health effects of

PFOA and PFOS exposure.37

       229. In June 2018, the Agency for Toxic Substances and Disease Registry

("ATSDR") and EPA released a draft toxicological profile for PFOS and PFOA and

recommended the drinking water advisory levels be lowered to 11 ppt for PFOA and

7 ppt for PFOS.38

       230. On February 20, 2020, the EPA announced a proposed decision to

regulate PFOA and PFOS under the Safe Drinking Water Act, which the agency

characterized as a "key milestone" in its efforts to "help communities address per-

and polyfluoroalkyl substances (PFAS) nationwide."39 Following a public comment

period on its proposed decision, the EPA will decide whether to move forward with

the process of establishing a national primary drinking water regulation for PFOA

and PFOS.

       231. On June 15, 2022, the EPA released new drinking water health advisory

levels (HALs) for four PFAS, including new interim HALs for PFOS and PFOA that




37 National Defense Authorization Act for Fiscal Year 2018, H.R. 2810, 115th Congress (2017), available
at https://www.congress.gov/115/plaws/pub191/PLAW-115pub191.pdf.
38 ATSDR, Toxicological Profile for Perfluoroalkyls: Draftfor Public Comment (June 2018), available at
https://www.atsdr.cdc.gov/toxprofiles/tp200.pdf.
39 Press Release, EPA Announces Proposed Decision to Regulate PFOA and PFOS in Drinking Water,
Feb. 20, 2020, available at https://www.epa.govinewsreleases/epa-announces-proposed-decision-
regulate-pfoa-and-pfos-drinking-water.


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departed significantly from the 2016 EPA HAL they replaced.40 Specifically, EPA

issued HALs of 0.004 ppt for PFOA and 0.02 ppt for PFOS,41 which collectively

accounted for only a small fraction of the combined 70 ppt HAL that preceded them.

Importantly, EPA set these interim HALs at levels below which PFOS and PFOA

can be measured using current analytic methods, meaning that the mere detection of

PFOS or PFOA in a water provider's system would be sufficient on its own to exceed

the new levels.

        232. As support for its decision, EPA explained that the science had evolved

since 2016 and that the new interim HALs for PFOS and PFOA were "based on

human studies" that "found associations between PFOA and/or PFOS exposure and

effects on the immune system, the cardiovascular system, human development (e.g.,

decreased birth weight), and cancer."42 Specifically, EPA had performed updated

health effects analyses for PFOS and PFOA to provide support for the chinking water

regulations the agency planned to adopt for the two chemicals under the SDWA.

Based on these analyses, EPA concluded that "the levels at which negative health

effects could occur are much lower than previously understood when EPA issued



4° See Fed. Register, Vol. 87, No. 36848, June 21, 2022, Lifetime Drinking Water Health Advisories for
Four Perfluoroalkyl Substances.
41 Id. Fed. Register, Vol. 87, No. 36848, June 21, 2022, Lifetime Drinking Water Health Advisories for
Four Perfluoroalkyl Substances.
42 EPA, Drinking Water Health Advisoriesfor PFAS Fact Sheetfor Communities at 1-2 (June 2022),
available at https://www.epa.gov/system/files/documents/2022-06/drinking-water-ha-pfas-factsheet-
communities.pdf.


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the 2016 health advisories for PFOA and PFOS — including near zero for certain

health effects."43 For this reason, the agency determined there was a "pressing need

to provide updated information on the current best available science to public health

officials prior to finalization of the health effects assessment."'

        233. Because the referenced health analyses are still undergoing final review

by EPA's Science Advisory Board, the agency has stated that the new interim HALs

for PFOS and PFOA are subject to change. EPA has indicated, however, that it does

not anticipate any changes resulting in revised HALs for PFOS and PFOA that are

greater than the 4 ppt minimum reporting level' that applies to Public Water

Systems.46

        234. On September 6, 2022, EPA published a notice of proposed rulemaking

seeking public comment on its plan to designate PFOS and PFOA as hazardous




43 EPA, Drinking Water Health Advisoriesfor PFAS Fact Sheetfor Public Water Systems at 2 (June
2022), available at https://www.epa.gov/system/files/documents/2022-06/drinking-water-ha-pfas-
factsheet-water-system.pdf.
44 EPA Office of Water, EPA Doc. No. 822-R-22-003, INTERIM Drinking Water Health Advisory:
Perfluorooctanoic Acid (PFOA) CASRN 335-67-1 at 18 (June 2022), available at
https://www.epa.gov/system/files/documents/2022-06/interim-pfoa-2022.pdfi EPA Office of Water, EPA
Doc. No. 822-R-22-004, INTERIM Drinking Water Health Advisory: CASRN 1763-23-1 at 18 (June
2022), available at https://www.epa.gov/system/files/documents/2022-06/interim-pfos-2022.pdf.
45 As EPA's website explains, the Minimum Reporting Level ("MRL") for Unregulated Contaminant
Monitoring Rule (UCMR) 5 is the minimum quantitation level that, with 95 percent confidence, can be
achieved by capable analysts at 75 percent or more of the laboratories using a specified analytical method.
The MRLs in EPA's chart are based on the UCMR 5 requirement to use EPA Method 533.
46 EPA, Drinking Water Health Advisoriesfor PFAS Fact Sheetfor Public Water Systems at 2 (June
2022), available at https://www.epa.gov/system/files/documents/2022-06/drinldng-water-ha-pfas-
factsheet-water-system.pdf.


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substances under CERCLA.47 Pursuant to that notice, all comments from the public

must be submitted by November 7, 2022.

       235. On October 5, 2022, the Governor of New York signed legislation

(S.8763A/A.9824A) allowing public water suppliers to revive any action, civil

claim, or cause of action involving an emerging contaminant in drinking water that

may have been barred because the statute of limitations had expired.

       236. The legislation defines an emerging contaminant as any physical,

chemical, microbiological, or radiological substance that is identified or listed as an

emerging contaminant in public health or any other law, which would include the

PFAS chemicals at issue in this action.

       237. The law gives local water authorities until April 5, 2024, to pursue

actions against polluters to recover the costs of treatment and filtration as a result of

contamination that might otherwise be barred under the statute of limitations.

       238.     On January 6, 2023, the Defense Logistics Agency within the

Department of Defense published a new Military Specification                            for "Fire

Extinguishing Agent, Fluorine-Free Foam (F3) Liquid Concentrate, for Land-Based,

Fresh Water Application," MIL-PRF-32725 ("F3 MilSpec") in accordance with §

332(a)(1) of the FY 2020 NDAA.48                   This new specification will govern fire


47 See Designation of Perfluorooctanoic Acid (PFOA) and Perfluorooctanesulfonic Acid (PFOS) as
CERCLA Hazardous Substances, 87 Fed. Reg. 54415 (Sep. 6, 2022).
48 Available on the Defense Logistics Agency's website,




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extinguishing foams used by all Department of Defense organizations and will

require such foams to test "non-detect" for PFAS. The specification further requires

manufacturers to "certify in writing that PFAS has not intentionally been added to

the concentrate."

       239. On April 10, 2024, EPA announced the final National Primary Drinking

Water Regulation for six PFAS. EPA's rule created final MCLs of 4.0 ppt PFOA or

PFOS and 10.0 PPT PFHxS, PFNA or Gen-X in drinking water.49

       E.      PFAS Is Fungible and Commingled in the Groundwater

       240. PFAS chemicals once released to the environment, lack characteristics

that would enable identification of the company that manufactured that particular

chemical feedstock.

       241. A subsurface plume, even if it comes from a single location, originates

from mixed batches of PFAS and chemical feedstock coming from different

manufacturers.

       242. Because precise identification of the specific manufacturer of any given

PFAS product that was a source of the contamination found at the Site is nearly

impossible, given certain exceptions, Plaintiffs must pursue all Defendants, jointly

and severally.



https://quicksearch.dla.mil/gsDocDetails.aspx?ident nutnber=285047.
49 Federal Register / Vol. 89, No. 82 Available at https://www.govinfo.gov/content/pkg/FR-2024-04-
26/pdf/2024-07773.pdf


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      243. Defendants are also jointly and severally liable because they conspired

to conceal the true toxic nature of PFAS, to profit from the use of products containing

PFAS, at Plaintiffs' expense, and to attempt to avoid liability.

      F.   Defendants Marketed and Sold a Wide Variety of Products
      Containing Dangerous PFAS Chemicals

      244. Despite their growing awareness of the dangers of PFAS chemicals,

Defendants continued to produce, market, distribute, and sell a variety of products

containing PFAS.

      245. Each of these defendants engaged in the marketing, selling and/or

distributing of PFAS containing products in the State of Delaware.

      246. Defendants understood that the PFAS containing products they

produced would cause various forms of contamination, which would cause people

such as Plaintiffs to be at significant risk of exposure to PFAS as a result of their

exposure to such contamination.

      247. Defendants understood that the PFAS-containing products they

produced would enter the stream of commerce and that people such as Plaintiffs

would directly interact with those products creating the significant risk of direct

exposure to PFAS as a result of direct interaction with PFAS containing products.

      248. Defendants understood that the PFAS containing products they

produced would eventually comingle with water sources, either directly or

indirectly, causing contamination of groundwater sources and chinking water


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sources and cause people such as Plaintiffs to be at significant risk of exposure to

PFAS as a result of their contaminated drinking water.

       249. Defendants understood that the PFAS containing products they

produced would cause contamination of soil and cause people such as Plaintiffs to

be at significant risk of exposure to PFAS as a result of their exposure to such

contamination.

       250. Defendants understood that the PFAS containing products they

produced would cause contamination of air and cause people such as Plaintiffs to be

at significant risk of exposure to PFAS as a result of their exposure to such

contamination.

       251. A study by the United States Geological Survey found that at least one

PFAS could be detected in about 45% of US drinking-water samples.50 Upon

information and belief, the PFAS and/or PFAS-containing products produced by

Defendants represents a significant proportion of that contamination.

       252. DuPont began used PFOA and other PFAS in its specialty chemical

production applications, including household applications and products, like Teflon

and Stainmaster. DuPont advertised Teflon as a protective non-stick coating for



' Smalling, Per- and polyfluoroalkyl substances (PFAS) in United States tapwater: Comparison of
underserved private-well and public-supply exposures and associated health implications (August 2023),
available at: https://www.sciencedirect.com/science/article/pii/S0160412023003069?via%3Dihub.




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cookware and Stainmaster as a soil and stain repellant for fabrics and textile

products. For instance, DuPont released Stainmaster Carpet in 1986. DuPont

advertised this product as being helpful for families with children and pets, which is

particularly concerning due to the additional exposure for children, who spend more

time on or near the floor.

      253. DuPont also manufactured and advertised Zonyl as a cheaper and less

labor- intensive alternative to wax-paper food packaging beginning in the 1960s. On

information and belief, this material has been used for fast food packaging and

microwave popcorn bags, among other consumer uses.

      254. On information and belief, the Teflon PTFE chemical has been used in

a wide variety of cosmetics to make them long-lasting and easier to apply.

      255. DuPont, on information and belief, was releasing advertisements

encouraging families not to worry, because they had Teflon® carpet protector.

      256. Despite knowledge of potential health hazards and contamination,

DuPont introduced Stainmaster carpet to the public in 1986, spending $10 million

on the first campaign of national advertisements. DuPont marketed Stainmaster

carpet as safe for families and targeted families with babies in particular, through

advertisements such as those below, whose misleading messages DuPont aimed to

get into every American household.




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      257.    However, infants and toddlers in homes with Stainmaster carpets are

consistently exposed to PFAS. According to the Centers for Disease Control and

Prevention, infants and toddlers are at increased risk of ingesting these chemicals

through hand to mouth transfer of PFAS from carpets. Similarly, the EPA reported

that children are particularly susceptible to inhaling PFAS in carpets, with inhalation

levels reaching 32,500 pg/cm3.

      258. DuPont also continued to advertise its Teflon brand for household use,

touting nonstick benefits but failing to disclose to consumers the serious adverse

effects of PFAS. On information and belief, the advertisements below are from the

1990s.




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      259.    Despite its knowledge regarding PFOA's toxicity, DuPont continued

to claim that PFOA posed no health risks. On information and belief, DuPont

continued to market and sell Teflon containing PFOA until 2007.

      260. DuPont advertised and sold consumer brands using PFAS chemicals as

safe for home use in a variety of contexts.



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      261. Upon information and belief, DuPont has marketed and sold PFAS

containing products and PFAS chemicals for use in products and applications of

other companies without disclosing the risks of these chemicals.

      262. 3M has advertised and sold brands of PFAS-containing products, such

as Scotchgard, as consumer-friendly and safe for families.

      263. 3M advertised Scotchgard Protector in the mid-1950s as a coating that

could be used to protect fabrics from water and other fluids. From 1970 to 2002,

paper and carpet treatments were the most common use of PFOS substances.

      264. On information and belief, 3M's Scotchban paper protector was used

for non-food packaging as early as the 1950s and was later used in food paper

packaging around 1970. Paper mills would apply Scotchban solution to make paper

cups, cake mixes, pet food, and more as the grease and water resistant chemicals

would not impact the appearance or other properties of the paper.

      265. 3M marketed its products to customers, misrepresented them as safe for

household and family use, and failed to disclose the information regarding potential

health and environmental issues to consumers necessary to make educated

purchasing decisions. For instance, this advertisement from 1961 promotes the

benefits of Scotchgard products to families and children in the household without

disclosing the known pollutant effects.




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                         YOU CAN RELAX

                        —if your smart wife
                     makes sure your family's
              nice things are protected with
            "SCOTCHCLAR0'• Stain Repeaer
                  when she buys them.




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      266. The advertisement below, on information and belief from 1965,

advertises the benefits of Scotchgard on a furniture company's products-especially

when it comes to young children.




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                                                                      Scotchgard




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      267. Similarly this advertisement, on information and belief from 1967,

falsely portrays Scotchgard products as safe for family use:




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                  s. Bauer gave up
                  trying to stop
                    all the spills
                       now she stops the stains; '7

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       268. A 1981 ad continued to advertise Scotchgard products as safe for family

use:




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      269. 3M continued television advertising of Scotchgard products as safe for

household and family use throughout at least the 1980s and continues to advertise

and sell PFAS-containing products for consumer use up until the present day.

      270. Upon information and belief, 3M has marketed and sold PFAS

containing products and PFAS chemicals for use in products and applications of

other companies without disclosing the risks of these chemicals.




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      271. Gore produced a variety of PFAS-containing products for consumer use

including carpets, clothing, fabrics for furniture, paper packaging for food and other

materials such as cookware that are resistant to water, grease or stains.

      272. Gore marketed many of its PFAS-containing products under its Gore-

Tex line of products which was introduced in the 1970s. Gore-Tex is used in a wide

variety of applications such as high-performance fabrics, medical implants, filter

media, insulation for wires and cables, gaskets, and sealants. Gore-Tex fabric is best

known for its use in water resistant rainwear and other clothing.

      273. Gore marketed Gore-Tex as a cutting-edge technology safe for use in

various environments. For example, this advertisement believed to be used in the

early 1980s reflected Gore-Tex as materials safe for everyone from astronauts to

fishermen:




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      274. Similarly, in the late 1990s, Gore advertised Gore-Tex as a tool for

going "back to nature," despite knowing Gore-Tex contained very unnatural and

dangerous PFAS:




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                                              woods, the mountains and du ocesns.
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      275. Upon information and belief, Gore has marketed and sold PFAS

containing products and PFAS chemicals for use in products and applications of

other companies without disclosing the risks of these chemicals.

      276. Honeywell and its subsidiaries produce hundreds of different lines of

products for consumer and industrial use. Honeywell markets refrigerants, blowing

agents, propellants, solvents, textiles and other materials which contain PFAS

chemicals.

      277. Upon information and belief, Honeywell has marketed and sold PFAS

chemicals for use in products and applications of other companies without disclosing

the risks of these chemicals.

      278. AGC Chemicals is a leading chemical producer, with a central focus of

its business being design and sale of chemicals for use in other products. AGC




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Chemicals has over decades produced a variety of PFAS chemicals and marketed

and sold such chemicals for use in other products which are marketed to end users.

      279. Archroma is a leading chemical producer, with a central focus of its

business being design and sale of chemicals for use in other products. Archroma has

over decades produced a variety of PFAS chemicals and marketed and sold such

chemicals for use in other products which are marketed to end users.

      280. Arkema is a leading chemical producer, with a central focus of its

business being design and sale of chemicals for use in other products. Arkema has

over decades produced a variety of PFAS chemicals and marketed and sold such

chemicals for use in other products which are marketed to end users.

      281. BASF is a leading chemical producer, with a central focus of its

business being design and sale of chemicals for use in other products. BASF has

over decades produced a variety of PFAS chemicals and marketed and sold such

chemicals for use in other products which are marketed to end users.

      282. Clariant is a leading chemical producer, with a central focus of its

business being design and sale of chemicals for use in other products. Clariant has

over decades produced a variety of PFAS chemicals and marketed and sold such

chemicals for use in other products which are marketed to end users.

      283. Daikin is a leading chemical producer, with a central focus of its

business being design and sale of chemicals for use in other products. Daikin has


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over decades produced a variety of PFAS chemicals and marketed and sold such

chemicals for use in other products which are marketed to end users.

      284. Solvay is a leading chemical producer, with a central focus of its

business being design and sale of chemicals for use in other products. Solvay has

over decades produced a variety of PFAS chemicals and marketed and sold such

chemicals for use in other products which are marketed to end users.

      285. Together, Defendants have produced, sold, and marketed PEAS-

containing products and chemicals for decades, leading to widespread PFAS

contamination. Such products have led to contamination of the Plaintiffs either

through direct use of their products or through contamination of drinking water

sources.

      286. Defendants engaged in willful, wanton, malicious, and or/reckless

conduct that caused the foregoing damage upon Plaintiffs, disregarding their

protected rights.

      287. Defendants' willful, wanton, malicious, and/or reckless conduct

includes but is not limited to Defendants' failure to take all reasonable measures to

ensure PFAS would not be released into the environment and inevitably contaminate

Plaintiffs' property and water supplies.




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      288. Defendants have caused great harm to Plaintiffs, acting with implied

malice and an outrageously conscious disregard for Plaintiffs' rights and safety, such

that the imposition of punitive damages is warranted.

                              CAUSES OF ACTION

                        COUNT I: DEFECTIVE DESIGN

      289. Plaintiffs adopt, reallege, and incorporate the allegations in the preceding

paragraphs and further allege the following:

      290. As manufacturers of products containing PFAS and/or their chemical

precursors, Defendants owed a duty to all persons whom its products might

foreseeably harm, including Plaintiffs, and to not market any product which is

unreasonably dangerous in design for its reasonably anticipated use.

      291. Defendants' products were unreasonably dangerous for their

reasonably anticipated uses for the following reasons:

         a. PFAS causes extensive groundwater contamination, even when used in

             its foreseeable and intended manner;

         b. Even at extremely low levels, PFAS render drinking water unfit for

             consumption;

         c. PFAS poses significant threats to public health; and

         d. PFAS create real and potential environmental damage.




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      292. Defendants knew of these risks and failed to use reasonable care in the

design of their PFAS products.

      293. Products containing PFAS and/or their chemical precursors pose a

greater danger to the environment and to human health than would be expected by

ordinary persons such as Plaintiffs and the general public.

      294. At all relevant times, Defendants were capable of making products that

did not contain PFAS and/or their chemical precursors. Thus, reasonable alternative

designs existed which were capable of preventing Plaintiffs' injuries.

      295. The risks posed by products containing PFAS and/or their chemical

precursors far outweigh the utility of these products across various markets.

      296. The likelihood that Defendants' PFAS products would be released into

the environment and contaminate drinking water sources far outweighed any burden

on Defendants to adopt an alternative design and outweighed the adverse effect, if

any, of such alternative design on the utility of the product.

      297. As a direct and proximate result of Defendants' unreasonably

dangerous design, manufacture, and sale of products containing PFAS and/or their

chemical precursors, Plaintiffs have been exposed to PFAS contamination.

      298. Defendants knew that it was substantially certain that their acts and

omissions described above would result in contamination of people like the Plaintiffs.

Defendants committed each of the above-described acts and omissions knowingly,


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willfully, and/or with fraud, oppression, or malice, and with conscious and/or reckless

disregard for Plaintiffs' health and safety, and/or property rights.

                         COUNT II: FAILURE TO WARN

      299. Plaintiffs adopt, reallege, and incorporate the allegations in the

preceding paragraphs and further allege the following:

      300. As manufacturers of products containing PFOS, PFOA, and/or their

chemical precursors, Defendants had a duty to provide adequate warnings of the

risks of these products to all persons whom its product might foreseeably harm,

including Plaintiffs and the public.

      301. Defendants' PFAS products were unreasonably dangerous for its

reasonably anticipated uses for the following reasons:

          a. PFAS causes extensive groundwater contamination, even when used in

             its foreseeable and intended manner;

          b. Even at extremely low levels, PFAS render drinking water unfit for

             consumption;

          c. PFAS poses significant threats to public health; and

          d. PFAS create real and potential environmental damage.

      302. Defendants knew of the health and environmental risks associated with

their PFAS products and failed to provide a warning that would lead an ordinary




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reasonable user or handler of a product to contemplate the dangers associated with

their products or an instruction that would have avoided Plaintiffs' injuries.

          303. Despite Defendants' knowledge of the environmental and human health

hazards associated with the use and/or disposal of their PFAS products in the vicinity

of drinking water supplies, including PFAS contamination of public drinking supplies

and private wells, Defendants failed to issue any warnings, instructions, recalls, or

advice regarding their PFAS products to Plaintiffs, governmental agencies, or the

public.

          304. As a direct and proximate result of Defendants' failure to warn, Plaintiffs

have been exposed to PFAS contamination.

          305. Defendants knew that it was substantially certain that their acts and

omissions described above would result in exposure of people like the Plaintiffs to

PFAS contamination. Defendants committed each of the above-described acts and

omissions knowingly, willfully, and/or with fraud, oppression, or malice, and with

conscious and/or reckless disregard for Plaintiffs' health and safety, and/or property

rights.

                               COUNT III: NEGLIGENCE

          306. Plaintiffs adopt, reallege, and incorporate the allegations in the

preceding paragraphs and further allege the following:




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       307. As manufacturers of products containing PFAS and/or their chemical

 precursors, Defendants owed a duty to Plaintiffs and to all persons whom its products

 might foreseeably harm and to exercise due care in the formulation, manufacture,

 sale, labeling, warning, and use of PFAS containing products.

       308. Defendants owed a duty to Plaintiffs to act reasonably and to not place

 inherently dangerous PFAS products into the marketplace when its release into the

 air, soil, and water was imminent and certain.

       309. Defendants knew or should have known that PFAS were leaching from

 their products due to their uses in the market.

       310. Defendants knew or should have known that PFAS are highly soluble

 in water, highly mobile, extremely persistent in the environment, and high likely to

 contaminate water supplies if released into the environment.

       311. Defendants knew or should have known that the manner in which they

 were designing, manufacturing, marketing, distributing, and selling their PFAS

 products would result in the exposure of people like the Plaintiffs to PFAS

 contamination.

       312. Despite the fact that Defendants knew or should have known that PFAS

 are toxic, can contaminate water resources and are carcinogenic, Defendants

 negligently:




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          a. designed, manufactured, formulated, handled, labeled, instructed,

             controlled, marketed, promoted, and/or sold products containing PFAS

             and/or their chemical precursors;

          b. issued deficient instructions on how their products should be used and

             disposed of, thereby permitting PFAS to contaminate groundwater;

          c. failed to recall and/or warn the users of their PFAS products of the

             dangers of groundwater contamination as a result of standard use and

             disposal of their products;

          d. failed and refused to issue the appropriate warning and/or recalls to the

             users of their products; and

          e. issued public statements intended to mislead the public into the false

             belief that PFAS are safe;

          f. failing to take reasonable, adequate, and sufficient steps or actions to

             eliminate, correct, or remedy any contamination after it occurred.

       313. The magnitude of the burden on the Defendants to guard against this

 foreseeable harm to Plaintiffs was minimal, as the practical consequences of placing

 this burden on the Defendants amounted to a burden to provide adequate

 instructions, proper labeling, and sufficient warnings about their PFAS products.

       314. As manufacturers, Defendants were in the best position to provide

 adequate instructions, proper labeling, and sufficient warnings about their PFAS


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 products, and to take steps to eliminate, correct, or remedy any contamination they

 caused.

           315. As a direct and proximate result of Defendants' negligence, Plaintiffs

 and people like plaintiffs have been exposed to PFAS contamination.

           316. Defendants knew that it was substantially certain that their acts and

 omissions described above would result in the exposure of people like the Plaintiffs

 to PFAS contamination. Defendants committed each of the above-described acts and

 omissions knowingly, willfully, and/or with fraud, oppression, or malice, and with

 conscious and/or reckless disregard for Plaintiffs' health and safety, and/or property

 rights.

                          COUNT IV: PRIVATE NUISANCE

           317. Plaintiffs adopt, reallege, and incorporate the allegations in the

 preceding paragraphs and further allege the following:

           318. Plaintiffs are owners of land, easements, and water rights that permit

 it to extract groundwater for use in its wells.

           319. Defendants' intentional, negligent, and/or reckless conduct, as alleged

 herein, has resulted in substantial contamination of Plaintiffs' supply wells by PFAS,

 human carcinogens that cause adverse human health effects and render water

 undrinkable.




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          320. Defendants' manufacture, distribution, sale, supply, and marketing of

 products containing PFAS was unreasonable because Defendants had knowledge of

 PFAS' unique and dangerous chemical properties and knew that contamination of

 public groundwater supply wells was substantially certain to occur, but failed to

 provide adequate warnings of, or take any other precautionary measures to mitigate,

 those hazards.

          321. The contamination caused, contributed to, and/or maintained by

 Defendants substantially and unreasonably interferes with Plaintiff's property rights

 to appropriate, use, and enjoy water from its wells.

          322. Each defendant has caused, contributed to, and/or maintained such

 nuisance, and is a substantial contributor to such nuisance.

          323. As a direct and proximate result of Defendants' acts and omissions as

 alleged herein, Plaintiffs have incurred, are incurring, and will continue to incur

 damages related to PFAS contamination of its wells in an amount to be proved at

 trial.

          324. Defendants knew it was substantially certain that their acts and

 omissions described above would cause injury and damage, including PFAS

 contamination of Plaintiffs' groundwater supply. Defendants committed each of the

 above-described acts and omission knowingly, willfully, and with oppression, fraud,

 and/or malice. Such conduct was performed to promote sales of PFAS products, in


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 conscious disregard to the probable dangerous consequences of that conduct and its

 reasonably foreseeable impacts on public health and welfare.

       325. Therefore, Plaintiffs request an award of punitive damages in an amount

 sufficient to punish these Defendants and that fairly reflects the aggravating

 circumstances alleged herein.

       326. Defendants are jointly and severally liable for all such damages, and

 Plaintiffs are entitled to recover all such damages and other relief as set forth below.

                               COUNT V: TRESPASS

       327. Plaintiffs adopt, reallege, and incorporate the allegations in the

 preceding paragraphs and further allege the following:

       328. Plaintiffs are owners, operators, and actual possessors of real property

 as defined herein.

       329. Defendants designed, manufactured, distributed, marketed, and sold

 PFAS products with the actual knowledge and/or substantial certainty that products

 containing PFAS and/or their chemical precursors would, through normal use,

 release PFAS that would migrate into groundwater, causing contamination.

       330. Defendants negligently, recklessly, and/or intentionally designed,

 manufactured, distributed, marketed, and sold PFAS products in a manner that

 caused PFAS to contaminate Plaintiffs' properties.




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           331. As a direct and proximate result of Defendants' trespass, Plaintiffs have

 suffered and continue to suffer property damage requiring investigation,

 remediation, and monitoring costs.

           332. Defendants knew that it was substantially certain that their acts and

 omissions described above would threaten public health and cause extensive

 contamination of property, including groundwater collected for drinking.

 Defendants committed each of the above-described acts and omissions knowingly,

 willfully, and/or with fraud, oppression, or malice, and with conscious and/or

 reckless disregard for the health and safety of others, and for Plaintiffs' property

 rights.

                     COUNT VI: STRICT PRODUCT LIABILITY

           333. Defendants are strictly liable for the defective design of their PFAS

 containing products and PFAS chemicals.

           334. Defendants each had a duty to produce and market safe products.

 Defendants breached that duty when they marketed PFAS containing products and

 PFAS chemicals which were not designed to be reasonably safe.

           335. Defendants' products were defective in that they were designed to

 include PFAS Chemicals without sufficient safeguards to prevent exposure to such

 chemicals.




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        336. In the alternative Defendants' products were defective in that they

 included PFAS or higher than intended concentrations of PFAS as a result of

 manufacturing defects.

        337. Moreover Defendants' products were defective as a result of a failure

 to provide adequate warnings regarding the safe use of and disposal of the products.

        338. The defective design was a substantial factor in causing plaintiffs'

 injuries.

 COUNT VII: MARKET SHARE LIABILITY, ALTERNATIVE LIABILITY,
       CONCERT OF ACTION, AND ENTERPRISE LIABILITY

        339. Defendants in this action are manufacturers that control a substantial

 share of the market for products containing PFAS, and/or their chemical precursors

 in the United States and are jointly responsible for the contamination of the Site,

 including the soil, sediment, surface water, and groundwater. Market share liability

 attaches to all Defendants, and the liability of each should be assigned according to

 its percentage of the market for PFAS products at issue in this Complaint.

        340. Because PFAS is fungible, it is impossible to identify the exact

 Defendant who manufactured any given product containing a specific PFAS, and/or

 their chemical precursors found free in the air, soil or groundwater, and each of these

 Defendants participated in a territory-wide and U.S. national market for PFAS

 products during the relevant time.




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       341. Concert of action liability attaches to all Defendants, each of which

 participated in a common plan to commit the torts alleged herein and each of which

 acted tortuously in pursuance of the common plan to knowingly manufacture and

 sell inherently dangerous products containing PFOS, PFOA, and/or their chemical

 precursors.

       342. Enterprise liability attaches to all the named Defendants for casting

 defective products into the stream of commerce.

                          COUNT VIII: CONSPIRACY

       343. Defendants actually knew of the health and environmental hazards

 which PFAS posed to Plaintiffs.

       344. Beginning in the 1950s and continuing through the date of this

 Complaint, Defendants formed joint task forces and committees and otherwise

 colluded for the avowed purpose of providing information about products containing

 PFAS to the public and to government agencies with the unlawful purpose of:

          a.    Creating a market for products containing PFAS despite knowledge

                of the hazards which PFAS posed to the environment;

          b.    Concealing the environmental properties and toxic nature of PFAS

                and its impact on Plaintiffs and the environment; and

          c.    Maximizing profits in a way Defendants knew or should have

                known would result in the contamination of the Site.



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       345. Defendants carried out their conspiracy by one or more of the following

 overt acts or omissions:

          a.     Intentionally representing to the EPA and to the public that products

                 containing PFAS were safe and did not pose an environmental or

                 human health risk;

          b.     Concealing the dangers of PFAS (including toxicological

                 information on the dangers of the chemicals to living organisms,

                 adverse fate and transport characteristics, and the propensity of

                 PFAS to contaminate groundwater) from the government and the

                 public by, among other means, repeatedly requesting that

                 information about the dangers and health effects of PFAS be

                 suppressed and not otherwise published, and by downplaying any

                 adverse fmdings relating to PFAS;

          c.     Concealing the dangers of products containing PFAS from end

                 users, sensitive receptors, public water suppliers, and the users and

                 consumers of groundwater;

          d.     Using their considerable resources to fight PFAS regulation; and

          e.     Collectively deciding to use PFAS rather than other, safer

                 surfactants because products containing PFAS were the most

                 profitable for Defendants.


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       346. As a direct and proximate result of the Defendants' above-described

 conspiracy, PFAS, at all times relevant to this litigation has:

           a.    Posed and continues to pose a health threat to Plaintiffs because it

                 has bioaccumulated in their bodies;

           b.    Contaminated Plaintiffs' property, soil, and groundwater, for those

                 with private water wells;

           c.    Created the need for remediation of PFAS contaminated

                 groundwater for those property owners who utilize private water

                 wells, or, where remediation of the groundwater is impractical,

                 installation of a system to filter out PFAS or procurement of water

                 from alternative sources.

        COUNT IX: VIOLATION OF THE UNIFORM FRAUDULENT
                         CONVEYANCE ACT
             (Against DuPont, Chemours Co., Chemours FC,
                 Corteva, and DuPont de Nemours, Inc.)

       347. Plaintiffs adopt, reallege, and incorporate the allegations in the

 preceding paragraphs and further allege the following:

       348. Plaintiffs seek equitable and other relief pursuant to the Uniform

 Fraudulent Conveyance Act (UFCA) as adopted by the State of Delaware, against

 DuPont, Chemours Co., Chemours FC, Corteva, and DuPont de Nemours, Inc.

 (collectively the "UFCA Defendants"). 6 Delaware Code § 1301 - § 1312 (2023).




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 The UFCA provides a "transfer made" or "obligation incurred" is "voidable as to a

 creditor," when the debtor acted:

              (1) With actual intent to hinder, delay, or defraud any creditor of
              the debtor; or
              (2) Without receiving a reasonably equivalent value in exchange
              for the transfer or obligation, and the debtor:
              (a) Was engaged or was about to engage in a business or a
              transaction for which the remaining assets of the debtor were
              unreasonably small in relation to the business or transaction; or
              (b) Intended to incur, or believed or reasonably should have
              believed that the debtor would incur, debts beyond the debtor's
              ability to pay as they become due.

 6 Delaware Code § 1305 (2023).

       349. The UFCA Defendants (a) were engaged or were about to engage in a

 business for which the remaining assets of Chemours Co. were unreasonably small

 in relation to the business; (b) intended to incur, or believed or reasonably should

 have believed that Chemours Co. would incur, debts beyond its ability to pay as they

 became due; and (c) acted with actual intent to hinder, delay and defraud Plaintiffs

 and other potential creditors.

       350. UFCA Defendants engaged in acts in furtherance of a scheme to

 transfer the assets of DuPont out of the reach of parties such as Plaintiffs that have

 been damaged as a result of the UFCA Defendants' conduct, omissions, and actions

 described in this Complaint.

       351. It is primarily DuPont, rather than Chemours Co., that for decades

 manufactured, marketed, distributed and/or sold products containing PFOS, PFOA,


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 and/or their chemical precursors with the superior knowledge that they were toxic,

 mobile, persistent, bioaccumulative, and biomagnifying, and through normal and

 foreseen use, would contaminate drinking water supplies.

       352. As a result of the transfer of assets and liabilities described in this

 Complaint, the UFCA Defendants have attempted to limit the availability of assets

 to cover judgments for all of the liability for damages and injuries from the

 manufacturing, marketing, distribution, and/or sale of products containing PFOS,

 PFOA, and/or their chemical precursors.

       353. At the time of the transfer of its Performance Chemicals Business to

 Chemours Co., DuPont had been sued, threatened with suit, and/or had knowledge

 of the likelihood of litigation to be filed regarding DuPont's liability for damages

 and injuries from the manufacturing, marketing, distribution and/or sale of products

 containing PFOS, PFOA, and/or their chemical precursors.

       354. The UFCA Defendants acted without receiving a reasonably equivalent

 value in exchange for the transfer or obligation, and DuPont believed or reasonably

 should have believed that Chemours Co. would incur debts beyond its ability to pay

 as they became due.

       355. At all times relevant to this action, the claims, judgment and potential

 judgments against Chemours Co. have potentially exceeded its ability to pay.




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       356. Pursuant to 6 Delaware Code § 1301 - § 1312 (2023), Plaintiff seeks

 avoidance of the transfer of DuPont's liabilities for the claims brought in this

 Complaint and to hold the UFCA Defendants liable for any damages or other

 remedies that may be awarded by the Court or jury to Plaintiffs in this action.

       357. Plaintiffs further seeks all other rights and remedies that may be

 available to it under UFCA, including prejudgment remedies as available under

 applicable law, as may be necessary to fully compensate Plaintiffs for the damages

 and injuries it has suffered as alleged in this Complaint.



                              PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs demand judgment against Defendants, and each of

 them, jointly and severally, and request the following relief from the Court:


           a. a declaration that Defendants acted with negligence, gross negligence,

              and/or willful, wanton, and careless disregard for the health, safety of

              Plaintiffs;

           b. an award to Plaintiffs of general, compensatory, exemplary,

              consequential, nominal, and punitive damages;

           c. compensatory damages according to proof including, but not limited to:




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                   i. costs and expenses related to the past, present, and future
                      investigation, sampling, testing, and assessment of the extent
                      to which Plaintiffs' property and water system have been
                      contaminated with PFAS;

                   ii. costs and expenses related to past, present, and future
                       treatment and remediation of the PFAS contamination
                       impacting Plaintiffs' property and water system; and

                   iii. costs and expenses related to past, present, and future
                        installation and maintenance of filtration systems to assess
                        and evaluate PFAS contamination impacting Plaintiffs'
                        property and water system;

         d. an order for an award of attorney fees and costs, as provided by law;

         e. pre-judgment and post-judgment interest as provided by law;

         f. an order barring the transfer of DuPont's liabilities for the claims brought

            in this Complaint;

         g. an award of punitive damages in an amount sufficient to deter

            Defendants' similar wrongful conduct in the future;

         h. an award of consequential damages; and

         i. an order for all such other relief the Court deems just and proper.



                          DEMAND FOR JURY TRIAL

      Plaintiffs demand a trial by jury of all issues so triable as a matter of right.




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  Dated: January 2, 2025                        Respectfully submitted,

                                                Is/ Thomas C. Crumplar
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